                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



IN RE: HAIR RELAXER                                      MDL No. 3060
MARKETING SALES PRACTICES
AND PRODUCTS LIABILITY                                   Master Docket Case No. 1:23-cv-00818
LITIGATION
                                                         Honorable Mary M. Rowland



                           MASTER LONG FORM COMPLAINT

       Now comes the Plaintiffs in MDL No. 3060, through the appointed leadership committee,

and bring their Master Long Form Complaint (“Master Complaint”) against Defendants L’Oréal

USA, Inc., L’Oréal USA Products, Inc. (“L’Oréal”), SoftSheen-Carson LLC (“SoftSheen”),

Revlon, Inc., Revlon Consumer Products Corporation (“Revlon”), Strength of Nature, LLC

(“Strength of Nature”), Godrej SON Holdings, Inc. (“Godrej”), Dabur International Ltd., Dabur

International USA Ltd. (“Dabur”), Namaste Laboratories, L.L.C. (“Namaste”), Dermoviva Skin

Essentials, Inc. (“Dermoviva”), AFAM Concept, Inc. d/b/a JF Labs, Inc. (“JF Labs”), Parfums de

Coeur, Ltd. d/b/a PDC Brands (“PDC Brands”), McBride Research Laboratories, Inc.

(“McBride”), Avlon Industries (“Avlon”), Beauty Bell Enterprises, LLC d/b/a House of Cheatham,

Inc. (“House of Cheatham”), Luster Products, Inc. (“Luster”), Sally Beauty Holdings, Inc d/b/a

Silk Elements (“Sally Beauty”) (collectively, “Defendants”), allege on personal knowledge as to

themselves, and on information and belief as to all matters as follows:
                         NATURE OF THIS MASTER COMPLAINT

       1.      This Master Complaint sets forth allegations of fact and law common to those

claims within this multidistrict proceeding relating to hair relaxer products. It includes allegations

that Defendants manufactured, sold, distributed, advertised, and promoted toxic hair relaxer

products that caused Plaintiffs to develop cancers and other injuries, although not all products and

defendants are applicable to every plaintiff with claims in these proceedings. Plaintiffs seek

compensatory and punitive damages, monetary restitution, medical monitoring and equitable

relief, and all other available remedies as a result of injuries incurred by Defendants’ defective

products and other wrongful practices.

       2.      This Master Complaint will address the claims arising as the direct and proximate

result of the conduct of Defendants, their directors, agents, heirs and assigns, and/or their corporate

predecessors, and their hair relaxer products, which include but are not limited to Dark & Lovely

(L’Oréal and SoftSheen), Optimum (L’Oréal and SoftSheen), Mizani (L’Oréal), Crème of Nature

(Revlon), Revlon Realistic (Revlon), Motions (Strength of Nature), Just for Me (Strength of

Nature), Soft & Beautiful (Strength of Nature), TCB (Strength of Nature), TCB Naturals (Strength

of Nature), Profectiv Mega Growth (Strength of Nature), African Pride (Strength of Nature),

Dream Kids (Strength of Nature), Dr. Miracle’s (Strength of Nature), African Pride (Strength of

Nature and Godrej SON Holdings), ORS Olive Oil (Dabur and Namaste), Hawaiian Silky (JF

Labs), Cantu (PDC Brands), Design Essentials (McBride), Affirm (Avlon), Africa’s Best (House

of Cheatham) Pink Conditioning No-Lye Relaxer (Luster), Smooth Touch No-Lye Relaxer

(Luster), and Silk Elements (Sally Beauty).

       3.      This Master Complaint does not necessarily include all claims asserted in all of the

transferred actions to this Court, nor is it intended to consolidate for any purpose the separate

claims of the Plaintiffs herein. It is anticipated that individual plaintiffs may adopt this Master


                                                 -1-
Complaint and the causes of action herein through use of a separate Master Short Form Complaint

for Individual Claims, which will specify the particular products and defendants against whom

claims are asserted by each individual plaintiff.

        4.      This Master Complaint does not constitute a waiver or dismissal of any actions or

claims asserted in any individual actions, nor does any Plaintiff relinquish the right to move to

amend their individual claims to seek any additional claims as discovery proceeds. As set forth

herein, each Plaintiff maintains that hair relaxers are defective, dangerous to human health, unfit

and unsuitable to be advertised, marketed, and sold in the United States, and have lacked proper

warnings of the dangers associated with their use. Any separate facts and additional claims of

individual plaintiffs are set forth in those actions filed by the respective plaintiffs.

                                   NATURE OF THIS ACTION

        5.      Plaintiffs in this action seek compensation, and justice, for injuries resulting from

use of defective hair relaxers designed, manufactured, sold, distributed, and marketed by the

Defendants.

        6.      Plaintiffs’ use of toxic chemical straightening products designed or manufactured

by the Defendants was a direct result of Defendants’ wrongful marketing practices. Defendants

systematically misrepresented and continue to misrepresent the significant health impacts of hair

relaxer use, all while targeting women of color and taking advantage of centuries of racial

discrimination and cultural coercion which emphasized—both socially and professionally—the

necessity of maintaining straight hair.

        7.      Rather than disclosing the risks and warning women and children, Defendants

exploited for profit this deep-rooted connection between hair and identity in how they chose to

market their hair relaxer products. Defendants’ advertising and marketing of their hair relaxer

products, and Defendants’ failures to take reasonable and necessary steps to protect Plaintiffs from


                                                  -2-
harm, (1) exposed Plaintiffs to brutally toxic products without warning; and (2) amplified

institutionalized systems of discrimination that have minimized the cultural identity and heritage

of women of African descent. Defendants advertised their hair relaxer products as, inter alia,

“organic,” “safe,” “botanicals,” “natural,” and “ultra nourishing” in newspapers, magazines, and

media predominantly consumed by Black and Brown women. The advertisements, commercials,

and packaging for Defendants’ hair relaxer products feature almost exclusively women of color

with smooth hair texture.

       8.      Indeed, the Defendants purposely targeted children to increase sales and ensure

generations of dedicated consumers—all while having knowledge that the hair relaxer products

they designed, manufactured, advertised, and sold contained toxic carcinogens.

       9.      Consumers of hair relaxer products relied on Defendant’s misrepresentations and

were misled as to the products’ safety, and as a result have suffered brutal injuries including uterine

and ovarian cancer. Many Plaintiffs have also suffered the loss of being able to have children – a

tremendous blow to their legacies.

I.     PARTIES

       10.     This Master Complaint is filed on behalf of all Plaintiffs whose claims are

subsumed within MDL 3060. Plaintiffs in these individual actions have suffered personal injuries

and death as a result of their use of Defendants various hair relaxer products.

       11.     Plaintiffs have suffered personal injuries as a direct and proximate result of

Defendants’ conduct and misconduct as described herein in connection with the design,

development, manufacture, testing, packaging, promotion, advertising, marketing, distribution,

labeling, warning, and sale of their respective hair relaxer products.

       12.     Defendant L’Oréal USA, Inc. is a Delaware corporation with its principal place of

business and headquarters located at 575 Fifth Avenue, New York, New York 10017.


                                                 -3-
       13.     Defendant L’Oréal USA Products, Inc. is a Delaware corporation with its principal

place of business and headquarters located at 10 Hudson Yards 347, 10th Avenue New York, New

York 10001.

       14.     Defendant SoftSheen-Carson, LLC is a limited liability company organized in the

State of New York with its principal place of business and headquarters located at 80 State Street,

Albany, New York 12207. Plaintiffs allege that SoftSheen-Carson, LLC’s sole member and

interested party is L’Oréal S.A., which is a French corporation having its headquarters and

principal place of business in France.

       15.     Defendant Revlon, Inc. is a Delaware corporation, with its principal place of

business and headquarters located at One New York Plaza in New York, New York 10004.

       16.     Defendant Revlon Consumer Products Corporation is a Delaware corporation with

its principal place of business at One New York Plaza in New York, New York 10004.

       17.     Defendant Revlon Group Holdings LLC is a limited liability company organized in

Delaware with its principal place of business in Wilmington, Delaware. Defendant Revlon Group

Holdings, LLC is a recently formed company as the result of Revlon’s recent emergence from

Chapter 11 Bankruptcy and shall assume the actions and omissions as described herein for its

predecessor(s) who went through the Chapter 11 Bankruptcy proceedings, and is owned in part by

Glendon Capital Management, King Street Capital Management, Angelo Gordon & Co., Antara

Capital, Nut Tree Capital Management, Oak Hill Advisors and Cyrus Capital Partners.

       18.     Revlon, as a “Debtor,” defined in ECF Doc 1860, Case No. 22-10760-dsj (Bankr.

S.D.N.Y.) are named Defendants, both in its current and prior iteration to Revlon’s Chapter 11

Bankruptcy for conduct related to both before and after the bankruptcy proceedings not assumed




                                               -4-
by the new entity created as a result of the Chapter 11 Bankruptcy proceedings. These Revlon

entities as well as the above mentioned Revlon entities are collectively referred to as “Revlon.”1

         19.     Defendant Strength of Nature, LLC is a limited liability company organized in

Georgia, with its principal place of business and headquarters located at 64 Ross Road, Savannah,

Georgia 31405. Plaintiffs allege that Strength of Nature, LLC’s sole member and interested party

is Godrej SON Holdings, Inc., a Georgia corporation, with its principal place of business and

headquarters located at 64 Ross Road, Savannah, Georgia 31405.

         20.     Defendant Dabur International Limited is a foreign entity incorporated in the Isle

of Man with its principal place of business and headquarters located at 5 Independence Way,

Princeton, New Jersey 08540.

         21.     Dabur International USA Ltd. is a wholly owned subsidiary of Dabur India, Ltd.

and Dabur India Ltd.’s sole United States distributor, with its principal place of business and

headquarters at 310 South Racine Avenue, Chicago, Illinois 60607.

         22.     Defendant Namaste Laboratories, LLC is a limited liability company organized in

Illinois with its principal place of business located at 310 South Racine Avenue, Chicago, Illinois

60607. Plaintiffs allege that Namaste Laboratories, LLC’s sole member and interested party is

Dermoviva Skin Essentials, Inc.

         23.     Dermoviva Skin Essentials, Inc., is a Delaware corporation having its headquarters

and principal place of business at 310 South Racine Avenue, Chicago, Illinois 60607.

         24.     Defendant AFAM Concept, Inc., d/b/a JF Labs Inc., is an Illinois corporation with

its principal place of business and headquarters located at 7401 South Pulaski Road, Chicago,

Illinois 60629-5837.



1
    This definition of “Revlon” applies as well in the Short Form Complaint.


                                                -5-
       25.     Defendant Parfums de Coeur, Ltd. d/b/a PDC Brands is a Connecticut corporation

with its principal place of business and headquarters located at 750 East Main Street, Suite 1000,

Stamford, Connecticut 06901.

       26.     Defendant Beauty Bell Enterprises, LLC d/b/a House of Cheatham, Inc. is a

domestic limited liability company organized in Georgia with its principal office located at 647

Mimosa Boulevard, Roswell, Georgia 30075. Plaintiffs allege that Beauty Bell Enterprises, LLC

d/b/a House of Cheatham’s sole member and interested party is Jay Studdard, who is domiciled in

Georgia.

       27.     Defendant House of Cheatham, LLC, is a limited liability company organized in

Georgia with its principal office located at 1445 Rock Mountain Boulevard, Stone Mountain,

Georgia. Plaintiffs allege that House of Cheatham, LLC’s sole member and interested party is

Hollywood Beauty Holdco, LLC, a limited liability company organized in Delaware with its

principal office located at 1445 Rock Mountain Boulevard, Stone Mountain, Georgia, 30083.

       28.     Defendant McBride Research Laboratories, Inc. is a Georgia corporation with its

principal place of business and headquarters located at 2272 Park Central Boulevard in Decatur,

Georgia 30035-3824.

       29.     Defendant Sally Beauty Holdings, Inc. d/b/a Silk Elements is a Delaware

corporation with its principal place of business at 3001 Colorado Boulevard Denton, Texas 76210.

       30.     Defendant Luster Products, Inc. is an Illinois corporation with its principal place of

business and headquarters located at 1104 West 43rd St., Chicago, Illinois 60609.

II.    JURISDICTION AND VENUE

       31.     This Court has subject-matter jurisdiction over each of the constituent cases in this

litigation for one or more of the following reasons:




                                                -6-
               a.      Under 28 U.S.C. § 1332 because the amount in controversy exceeds

$75,000 and Plaintiffs and Defendants are residents of different states;

               b.      Under 28 U.S.C. § 1331 because they involve questions of federal law

arising under the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301 et. seq., and the amount in

controversy exceeds $50,000. 15 U.S.C. § 2310. This Court has supplemental jurisdiction under

28 U.S.C. § 1367(a) over Plaintiffs’ state law claims because all claims alleged herein form part

of the same case or controversy.

       32.     This Court has personal jurisdiction over the Defendants in accordance with the

allegations asserted here and in each Plaintiff’s Short Form Complaint.

III.   FACTS COMMON TO ALL COUNTS

       A.      Market for Hair Relaxer Products

       33.     Black people make up about 13 percent of the U.S. population, but by one estimate,

Black spending accounts for as much as 22 percent of the $42 billion-a-year personal care products

market, suggesting that Black people buy and use more of such products—including those with

potentially harmful ingredients—than Americans as a whole.2

       34.     In an analysis of ingredients in 1,177 beauty and personal care products marketed

to Black and Brown women, about one in twelve was ranked highly hazardous on the scoring

system of EWG's Skin Deep® Cosmetics Database, an online resource for finding less-hazardous

alternatives to personal care products. The worst-scoring products marketed to Black and Brown


2
  Thandisizwe Chimurenga, How Toxic is Black Hair Care?, New America Media, Feb. 2, 2012,
americamedia.org/2012/02/skin-deep-in-more-ways-than-one.php; Personal Care Products
Manufacturing Industry Profile, Dun & Bradstreet First Research, August 2016,
www.firstresearch.com/Industry-Research/Personal-Care-Products-Manufacturing.html        (This
report uses "Black" to describe not only people who identify as African-American, but Black
people in the U.S. who come from the Caribbean or other areas. “African-American” is used only
when a cited source specifies that term).



                                               -7-
women were hair relaxers (along with hair colors and bleaching products). Each of these categories

had an average product score indicating high potential hazard.

        35.     In the U.S. alone, Black and Brown consumers spend over $1 trillion each year,

with a significant amount of that spending toward hair care products.

        36.     In 2020, the global black hair care market was estimated at $2.5 billion, with the

hair relaxer market alone estimated at $718 million in 2021, with the expectation of growth to

$854 million annually by 2028.

        37.     The Defendants, aware of the unique history of their target consumers, developed

and have long deployed a marketing framework based on misrepresentations that exploit their

consumers’ social and economic need to maintain straight hair.

                1.      History of Afro-Textured Hair and Hair Relaxers—The Framework
                        for Defendants’ Wrongful Marketing Practices

        38.     Dating back to 1619, Black and Brown women have been degraded based upon the

texture of their hair and compelled to conform to the Eurocentric beauty standard that furthers the

notion that “straight” hair is an indicator of social status, moral virtue, and professional

competence. By contrast, hair texture of African heritage (“afro-textured hair”) has been

characterized as unattractive, unprofessional, and inferior. 3

        39.     In its natural state, afro-textured hair is characterized by coily, springing, zigzag,

and s-curve curl patterns, as well as its density, fullness, texture, and feel.4

        40.     Certain African hairstyles can be traced back thousands of years, when they often

indicated tribe membership and stature,5 slave masters commonly forced enslaved Black and


3
  Shelby Smith, The Evolution of Black Hair in America, Imani Hair Care (Aug. 6, 2020),
https://imanihaircare.com/blogs/news/the-evolution-of-black-hair-in-america
4
  Patrick Obukowcho, Hair Relaxers: Science, Design, and Application, 26, 14 (2018).
5
  History of Braids: More Than Just a Hairstyle, Genesis Career College,
https://www.genesiscareer.edu/history-of-braids-more-than-just-a-hairstyle/.


                                                  -8-
Brown people to cut their hair. This was a way to “break their spirit and make slaves easier to

control.”6 What was once a symbol of pride and symbolism became a tool for subordination and

degradation. Hair cutting was also a common form of punishment during slavery and during Jim

Crow.

        41.     The very nature of slavery involved working long hours in dire conditions. “Hair

that was once a source of pride and expression of identity was often tucked away beneath cloth to

cover rough, tangled tresses and shield them from hours spent toiling under the sun.”7 The hair

that was once an important spiritual and cultural symbol became framed and viewed as tangled,

matted, and unseemly.

        42.     Because afro-textured hair reflected African heritage rather than European

ancestry, afro-textured hair was considered a symbol of low social status.8

        43.     In 1786, the Governor of Louisiana, Don Esteban Miro, passed the “Tignon Law”

requiring women of African descent to wear a tignon (scarf) over their hair as a way of signifying

they were members of the slave class, even if they were free. This law sent a direct signal to Black

and Brown people that their hair held a symbol of inequality and was a sign of poverty regardless

of their actual social status.

        44.     Texturism—the idea that “good hair” is equated with a straighter hair texture—was

cemented into American culture during slavery. “Eurocentric beauty standards dictated that coily

hair and dark skin were unattractive and inferior”; “lighter skinned and straighter haired slaves




6
 Brenda A. Randle, I Am Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114 –
121 (2015).
8
 Brenda A. Randle, I Am Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114 –
121 (2015).


                                               -9-
were favored and selected for more desirable positions in the house” as opposed to the fields.9

Thus, “the texture of an enslaved person’s hair could determine their value and working conditions,

which in turn might impact their overall health, comfort and chances for freedom[.]”10 Early

American culture impressed on Black and Brown men and women that the straighter and less kinky

their hair was, the better a life they could have. This stigma fueled the desire for tools and products

that could straighten Black and Brown hair texture.

       45.     In slavery and post-slavery America, Black and Brown women found a need to

morph their hairstyles “from the elaborate and symbolic designs of Africa into an imitation of

White styles adapted to Black and Brown kinks and curls.”11

       46.     In an effort to obtain a better life, many enslaved people, and later their progeny,

would go to “dangerous lengths to straighten their hair.”12

       47.     Afro-textured hair, can be manipulated into a straightened state with the use of hair

tools and non-chemical hair products. Prior to the invention of the chemical relaxer in 1900s

individuals would “press” afro-textured hair with metal hair tools such as the “hot comb.” Pressing

combs or hot combs are metal hair tools that are first heated in a stove or ceramic heater, then

pressed into hair strands to temporarily straighten them.13




9
  Id.
10
   Id.
11
   Brenda A. Randle, I Am Not My Hair, Race, Gender and Class, Volume 22, Number 1-2, 114
– 121 (2015).
12
    Nikki Fox, 6 Things Everyone Should Know About Black Hair History, Odele, Feb. 22, 2021.
https://odelebeauty.com/blogs/the-rinse/black-hair-history-facts
13
   Jaclyn Peterson, The Price of Beauty, CTI Charlotte Teachers Institute Curriculum (2021).


                                                - 10 -
                2.      The Invention of the Chemical Relaxer

         48.    Black inventor Garrett Augustus Morgan discovered and created a system that

would permanently straighten afro-textured hair, eliminating the issue of “shrinkage,” where the

curl pattern results in hair appearing to be shorter than it actually is.

         49.    In addition to being an inventor, Morgan was a tailor. In the early 1900s, Morgan

was repairing his sewing machines and creating a way to polish the needles to stitch fabrics more

smoothly.14 He applied a chemical solution to the needles and wiped the solution off with a rag

and later noticed that the “curly” fibers in the rag were straightened after exposure to the

chemical.15

         50.    Morgan turned his formula into a gel-hair product, creating the G.A. Morgan Hair

Refining Cream that was marketed in 1913.




14
     Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
15
     Mary N. Oluonye, Garrett Augustus Morgan: Businessman, Inventor, Good Citizen 28 (2008).


                                                 - 11 -
       51.     Morgan’s invention paved the way for the alkaline relaxer and later development

of additional chemical-based permanent hair relaxing products in the Black and Brown hair care

market, also known as hair relaxers.16

       52.     Over the next 40-plus years, these products dominated the market for relaxing afro-

textured hair until the emergence of new technology involving lye-based formulas.

               3.      Defendants’ Marketing Efforts17

       53.     In 1971, Dark and Lovely manufactured the first lye relaxer. The formula consisted

of sodium hydroxide, water, petroleum jelly, mineral oils, and emulsifiers.18

       54.     In the 1970s, lye relaxer users and manufacturers noticed that the lye formula

stripped proteins from the hair strand, resulting in the hair thinning and breaking.19As a result,


16
   Patrick Obukowcho, Hair Relaxers: Science, Design, and Application 27 (2018).
17
    The following discussion of various Defendant manufacturers and/or products is not an
exhaustive list of all hair relaxer manufacturers and/or products that have been marketed to
consumers, nor is it an exhaustive list of all manufacturers and/or products currently on the market.
Rather, it is a representative sample of how Defendant manufacturers advertised their products
throughout the years.
18
   Cicely A. Richard, This History of Hair Relaxers, September 29, 2017
https://classroom.synonym.com/the-history-of-hair-relaxers-12078983.html.
19
   Id.


                                               - 12 -
Johnson and Johnson marketed the first “gentle” hair relaxer, Gentle Treatment, in 1981, which

used chemicals such as potassium hydroxide and lithium hydroxide.20




           55.   For decades and to present, Defendants designed, manufactured, and marketed their

hair relaxer products to Black and Brown customers across the United States, and the world,

relying on the same historical Eurocentric standards of beauty. Defendants’ marketing scheme

heavily leverages branding and slogans that reinforce straight hair as the standard of beauty and

professionalism.21 The Defendants marketed their hair relaxer products without ever disclosing

known health risks of the toxic chemicals contained in these products or taking other reasonable

steps to ensure their products would not harm consumers.




20
     Id.
21
     Id.


                                               - 13 -
       56.      For example, in the first ad above, L’Oréal touts “how beautiful Black hair can be”

(emphasis added), implying that in its natural state Black hair is not as beautiful as it could be if

straightened.

       57.      Defendants have advertised their hair relaxer products to Black and Brown

customers as a way to exploit these anti-Black standards of beauty as early as the 1970s. For

example:

                a.     Johnson Products Company (later acquired by Defendant L’Oréal)

advertised its Ultra Sheen hair relaxer products as early as the 1960s:




                                               - 14 -
               b.      Defendants L’Oréal and SoftSheen have produced advertisements for their

hair relaxer products as early as the 1970s:




                                               - 15 -
- 16 -
c.   Defendant Godrej has advertised its hair relaxer products since the 1990s:




d.   Defendant Revlon has advertised its hair relaxer products for decades:




                            - 17 -
- 18 -
               e.     Defendant Strength of Nature has also advertised many of its hair relaxer

brands as early as the 1970s:




                                            - 19 -
- 20 -
              f.   Defendant Luster Products Co. has marketed and advertised its products

since the 1950s:




                                        - 21 -
               g.        Defendant Avlon Affirm has been marketing its Hair Relaxer Products since

as early as the 1980s.




       58.     The Defendants all marketed their hair relaxer products without ever disclosing

known health risks of the toxic design and chemicals contained in these products.

       59.     In addition to Defendants’ wrongful omissions above, the Defendants also made

several affirmative misrepresentations and additional significant material omissions in conjunction

with the sale of their products:

               a.        Marketing Toxic Products to Children: Beginning in 1990, Godrej

developed and began marketing “Just For Me,” the first Hair Relaxer Product targeted towards


                                               - 22 -
young Black and Brown girls. Just for Me entered the market with a catchy commercial.22 On the

product packaging, Godrej lauded the product as safer by claiming that it was a no-lye formula

designed to be “gentle” for children’s sensitive scalps while Defendants knew that the Just for Me

product contained more chemicals than, and was equally or more toxic than, some adult brands of

hair relaxers.




                 b.    Defendants misrepresented that “no lye” relaxers or “gentle treatment”

relaxers were milder and/or safer than alternative relaxers. This was false. Hair relaxer products

marketed as using “gentle treatment” or similar terminology are not any safer than the other hair

relaxer products on the market.

                 c.    Defendant Strength of Nature’s (Godrej) products, such as Soft & Beautiful

are intentionally labeled as “Botanicals” and with “Natural” ingredients that are “Ultra

Nourishing,” including but not limited to using “Natural Plant Oils and Butters.” These


22
     https://youtu.be/2A4dY4znFsg.


                                              - 23 -
representations are intended to suggest to consumers that these “Natural” hair relaxer products are

safer or less toxic than alternatives, but that is false. For example:




                d.      Defendant Strength of Nature’s Beautiful Textures hair relaxer product is

marketed as being able to “go from curly to straight and back again with using [h]arsh

[c]hemicals.” Defendant Strength of Nature affirmatively represented that there were no “harsh

chemicals” in its Beautiful Textures hair relaxer product. That was false.




                                                 - 24 -
               e.      On the packaging of their Motions hair relaxer products, Defendants

Strength of Nature and Godrej on claim the product is “specifically created with Silk Extracts,

Coconut oil and Shea butter” and that it will make hair “more vibrant, healthy-looking and silky

than before the relaxing process.” The packaging also boasts of offering “85% less breakage and

80% more shine after just one use.” These statements falsely imply, and lead a user to believe, that

Defendants Strength of Nature and Godrej’s product is both safe and “natural” when it is not.




               f.      Defendants Namaste and Dabur’s hair relaxer products are marketed as

“Olive Oil” products to imply that they use natural ingredients and lack toxic chemicals, which is

false. These Defendants’ products are also advertised as having “Built in Protection,” implying

they can be used safely. This is also false.

               g.      Defendants Namaste and Dabur’s website states that their hair relaxer

products use “Rich Olive and Avocado Oils” that they claim “moisturize and condition” and that

they include “Aloe Vera to help protect the skin and scalp.” While representing that aloe vera

helps “protect the skin and scalp” of children, the Defendants chose to omit that the other selected

chemicals significantly increase the risk of ovarian and uterine cancer.


                                               - 25 -
                h.    Defendants Namaste and Dabur’s hair relaxer products claim that they

“use[] the latest technology to safely elongate tight coils.” That is false—these products do not

safely relax hair.

                i.    Defendant L’Oréal’s and SoftSheen’s Dark & Lovely brand hair relaxer

products are intentionally labeled as providing a “healthy” gloss and containing “nourishing” shea

butter with jojoba and avocado oils. The terms “healthy” and “nourishing” suggest that hair relaxer

products are safe and even beneficial for the body when they are not.




                                              - 26 -
               j.      Defendant L’Oréal’s Dark & Lovely products are also intentionally labeled

as being “Triple Nourished” and as products that “help[] preserve signs of healthy hair” with

ingredients including but not limited to “Jojoba & Avocado Oil” and “Shea Butter.” The terms

“healthy” and “nourishing” suggest that these hair relaxer products are safe and even beneficial

for the body when they are not.




               k.      Defendant L’Oréal and Softsheen-Carson’s Beautiful Beginnings hair

relaxer product line, which is targeted to young Black girls, states that it “moisturizes, nourishes,

and prevents breakage…without hurting your scalp.” These representations suggest that their

hair relaxer products are safe and even beneficial for children’s bodies when they are not.




                                               - 27 -
               l.     Defendant Strength of Nature (Godrej) intentionally markets its hair relaxer

products for kids as containing a “natural hair milk,” and including ingredients such as “coconut

milk, shea butter, vitamin e, and sunflower oil.” The hair relaxer products also boast that they

contain “No-Lye Relaxer” around an image of a green leaf. Emphasizing these natural ingredients,

and including the green leaf surrounded by ingredients the products do not contain, implies that

these products primarily use natural ingredients, lack toxic chemicals, and are safe, which is all

false.


                                              - 28 -
               m.     Defendant Strength of Nature (Godrej)’s hair relaxer products sold under

the Dr. Miracle’s brand are advertised as “Strong + Healthy.” This false representation suggests

that the products are safe—and even beneficial—for the body when they are not.

               n.     Defendant Beauty Bell Enterprises, LLC d/b/a House of Cheatham, Inc. and

House of Cheatham, LLC markets its Africa’s Best hair relaxer product as containing “nourishing

African botanicals and Herbal Extracts.” These representations suggest that the products use

primarily natural ingredients, lack toxic chemicals, and are safe and even beneficial for the body,

when they are not.




                                              - 29 -
                o.     Defendant McBride Research Laboratories, Inc. markets its Design

Essentials hair relaxer products as leaving hair “healthy” and promotes its products as using natural

ingredients such as milk, honey, nectar, olive oil, and shea butter. These representations suggest

that the products use primarily natural ingredients, lack toxic chemicals, and are safe and even

beneficial for the body, when they are not.

                p.     Defendant Sally Beauty Holdings, Inc. d/b/a Silk Elements markets its Silk

Elements hair relaxer products as using natural ingredients such as olive oil and shea butter. These

representations suggest that the products use primarily natural ingredients, lack toxic chemicals,

and are safe and even beneficial for the body, when they are not.

                q.     Defendant Luster Products Co. markets its Pink Conditioning No-Lye

Relaxer and Smooth Touch No-Lye Relaxer products as using “nourishing ingredients” including

shea butter, argan oil, Vitamin E, and olive oil which they claim provide “added protection” for

the user. These representations suggest that the products use primarily natural ingredients, lack

toxic chemicals, and are safe and even beneficial for the body, when they are not.

       60.      Defendants’ marketing efforts, all have a common theme, they are filled with

representations and insinuations that their hair relaxing products are safe and beneficial to the user.

The use of words such as organic, natural, nourishing, added protection or healthy in their

marketing and can lead a consumer to believing these hair relaxer products are safe when in fact

they are not.

       61.      Defendants made these affirmative statements and/or omissions all while knowing

or should have knowing of the true danger of their hair relaxer products when used by a plaintiff.

       62.      Despite having or should of having this knowledge, Defendants continued their

marketing efforts without ever attempting to correct the misconceptions they were creating.




                                                - 30 -
               4.      Chemical Relaxer Use: From Adolescence into Adulthood

       63.     Hair relaxers are applied to the base of the hair shaft and left in place for a cooking

interval, during which the relaxer alters the hair’s texture by purposefully damaging the hair’s

natural protein structure. The effect of this protein damage is to straighten and smooth the hair.

After a period of weeks or months, depending on the hair’s natural growth rate, the treated portion

of the hair grows away from the scalp as new growth sprouts from the roots. Maintaining the

relaxed hairstyle requires on-going application of hair relaxer to the new growth, a process

colloquially referred to in the community as “re-touches,” resulting in users relaxing their new

growth every four to eight weeks on average.

       64.     Hair relaxing is highly prevalent among Black and Brown women. In some studies,

up to 90% of Black women have used hair relaxers and straighteners, which is more commonplace

for these women than women of any other race.

       65.     The reasons for Black women’s use and dependence upon hair straightening

products are multi-faceted.23 There are superficial reasons such as maintenance and personal

choice. Yet, in addition to aesthetic aspirations, based upon the historical framework set forth

above, maintaining straight hair was and is a means of integrating. The failure to maintain an

appearance with straightened hair has and does impact the lives of Black women in education,

socially, and in the professional sphere.




23
   Chanel Donaldson, Hair Alteration Practices Amongst Black Women and the Assumption of
Self-Hatred, Applied Psychology Opus, https://wp.nyu.edu/steinhardt-appsych_opus/hair-
alteration-practices-amongst-black-women-and-the-assumption-of-self-hatred/


                                               - 31 -
           66.   For example, Black and Brown girls and women are often victims of hair

discrimination. According to the Dove CROWN24 Research Study for Girls (2021)25 conducted by

JOY Collective, two-thirds (66%) of Black and Brown girls in White-majority schools who were

surveyed reported that they have experiencing hair discrimination. 45% of Black and Brown girls

in all school environments reported hair discrimination. Nearly half (47%) of the Black mothers

surveyed report experiencing hair discrimination.

           67.   Moreover, hair discrimination is not only pervasive, but it also often starts at an

early age for young black girls:

                 a.     100% of Black elementary school girls in majority-White schools who

report experiencing hair discrimination state they experience the discrimination by the age of 10.26

                 b.     86% of Black teens who experience discrimination state they have

experienced discrimination based on their hair by the age of 12.27

           68.   In adulthood, hair discrimination impacts Black women’s economic security. In the

professional world, Black women with natural and unstraightened hair are “often deemed unkempt




24
   The CROWN Act of 2021 was intended to address discrimination against protective hairstyles
worn predominantly by women of color. H.R. 2116, 117th Cong (enacted); S. 888, 117th Cong.
The CROWN Act was created in 2019 by Dove and the CROWN Coalition, in partnership with
then California State Senator Holly J. Mitchell, to ensure protection against discrimination based
on race-based hairstyles. The CROWN Act extended statutory protection to hair texture and
protective styles such as braids, locks, twists, and knots in the workplace and public schools.
https://www.thecrownact.com/. While the bill did not pass the Senate in 2022, eighteen states
have signed a version of the bill into state law.
25
   JOY Collective, Dove CROWN Research Study for Girls (2021),
https://static1.squarespace.com/static/5edc69fd622c36173f56651f/t/623369f7477914438ee18c9b
/1647536634602/2021_DOVE_CROWN_girls_study.pdf
26
     Id.
27
     Id.


                                                - 32 -
and unemployable.”28 Black women are one and a half times more likely to be sent home from the

workplace because of their hair.29 Black women are 89% more likely than White women to agree

with the statement, “I have to change my hair from its natural state to fit in at the office.”30 Many

Black women succumb to these professional pressures and are compelled to use hair relaxers to

both straighten and maintain their straight hair with routine re-touches.

       69.     The Defendants were acutely aware of, and marketed to, the stereotypes and history

concerning natural Black and Brown hair.

               5.      Defendants’ Hair Relaxer Products Contain Harmful, Toxic and
                       Carcinogenic Ingredients

       70.     Defendants were aware or should have been aware of both the potential for harm

and the increased risk of developing uterine and ovarian cancer from the use of the hair relaxer

products based on the evolving scientific studies, on-going research, and various government

standards and regulations.

       71.     This is due to the harmful, toxic, and carcinogenic ingredients in their hair relaxer

products that are known to disrupt and/or harm a woman’s endocrine system. Such harmful, toxic

and carcinogenic ingredients have included over time, but are not limited to, phthalates, parabens,

cyclosiloxanes, di-(2-ethylhexyl), octamethylcyclotetrasiloxane, lye, formaldehyde, and other

toxic chemicals.

       72.     The endocrine system is indispensable for life and influences nearly every cell,

organ, and process within the body.31 The endocrine system regulates all biological processes in


28
   Chanel Donaldson, Hair Alteration Practices Amongst Black Women and the Assumption of
Self-Hatred, Applied Psychology Opus, https://wp.nyu.edu/steinhardt-appsych_opus/hair-
alteration-practices-amongst-black-women-and-the-assumption-of-self-hatred/
29
   CROWN study, supra note 23.
30
   Id.
31
   Endocrine System: The Endocrine System Includes The Thyroid, Adrenals, and the Pituitary
Gland, Science Direct, https://www.sciencedirect.com/topics/psychology/endocrine-system


                                               - 33 -
the body from conception through adulthood, including the development of the brain and nervous

system, the growth and function of the reproductive system, as well as the metabolism and blood

sugar levels.32

       73.        The precise functioning of the endocrine system is vital to maintaining hormonal

homeostasis, the body’s natural hormonal production and degradation. A slight variation in

hormone levels can lead to significant adverse-health effects, including reproductive impairment

and infertility, cancer, cognitive deficits, immune disorders, and metabolic syndrome.33

       74.        Endocrine-disrupting chemicals (“EDCs”) are chemicals, or chemical mixtures,

that interfere with the normal activity of the endocrine system.

       75.        EDCs can block hormone stimulus by inducing epigenetic changes, (modifications

to DNA that regulate whether genes are turned on or off) or altering the structure of target cells’

receptors.34

       76.        Natural and synthetic EDCs are present in some of Defendants’ hair relaxer

products under the guise of “fragrance” and “perfumes”, and thus enter the body when these

products are applied to the hair and scalp.

       77.        One of the EDCs, Phthalates are known to interfere with natural hormone

production and degradation and are harmful to human health.35



32
    Endocrine Disruption, United States Environmental Protection Agency, Mar., 7, 2022,
https://www.epa.gov/endocrine-disruption/what-endocrine-system
33
   Id.; Michele La Merrill, et al., Consensus on the Key Characteristics of Endocrine-Disrupting
Chemicals as a Basis for Hazard Identification, Nature Reviews Endocrinol, Nov., 12, 2019,
https://www.nature.com/articles/s41574-019-0273-8
34
    Luis Daniel Martínez-Razo, et al., The impact of Di-(2-ethylhexyl) Phthalate and Mono(2-
ethylhexyl) Phthalate in placental development, function, and pathophysiology, Environment
International, January 2021,
https://www.sciencedirect.com/science/article/pii/S0160412020321838?via%3Dihub
35
    Yufei Wang & Haifeng Qian, Phthalates and Their Impacts on Human Health, Healthcare
(Basel) 9, 603, May 9, 2021, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8157593/


                                                - 34 -
       78.     They were developed in the last century and are used to make plastics more durable.

These colorless, odorless, oily liquids are also referred to as “plasticizers” based on their most

common uses.

       79.     Chronic exposure to phthalates will adversely influence the endocrine system and

functioning of multiple organs. Several countries have established restrictions and regulations on

some types of phthalates. 36

       80.     Under the authority of the Fair Packaging and Labeling Act (“FPLA”), the FDA

requires an ingredient declaration on cosmetic products sold at the retail level to consumers.

       81.     However, the regulations do not require the listing of the individual fragrance or

flavor, or their specific ingredients, meaning phthalates and other EDCs evade listing when

combined with a fragrance. As a result, consumers are not able to determine from the ingredient

declaration on the label if phthalates or other toxic chemicals are present in a fragrance used in the

hair relaxer products used by the Plaintiffs and placed into the stream of commerce by Defendants.

       B.      Scientific Studies Confirm – Hair Relaxer Products Cause Uterine and
               Ovarian Cancer

               1.      Uterine Cancer

       82.     Though death rates from other cancers in women have declined in recent years,

death rates for uterine cancer have increased by more than 100% in the last 20 years.37

       83.     Uterine cancer is the fourth most common cancer for women in the United States,

and the most commonly diagnosed gynecological cancer.38 An estimated 66,570 new cases of


36
   Id.
37
   Linda Duska, et al., Treatment of Older Women With Endometrial Cancer: Improving
Outcomes With Personalized Care, American Society Clinical Oncology Educational Book,
35:164-74, 2016, https://pubmed.ncbi.nlm.nih.gov/27249697/
38
   National Foundation for Cancer Research. https://www.nfcr.org/cancer-types/uterine-
cancer/?gad=1&gclid=Cj0KCQjwsIejBhDOARIsANYqkD31b2Q0YCsXxx2UoDUEG2PYN4q
KdyO36skCGpuZYh4dFf_Y--c5KJMaAleuEALw_wcB


                                                - 35 -
uterine cancer are diagnosed each year, and around 12,940 women will die every year from the

condition.39

       84.     Uterine cancer has a hormonally driven etiology, and an imbalance of estrogen and

progesterone can lead to the development of uterine cancers.40

       85.     In October 2022, the National Institutes of Health released a study of approximately

34,000 women, aged 35-74, and which was conducted over approximately 11 years.41

       86.     The study revealed that there were significantly higher rates of uterine cancer in

women who had used hair relaxers.

       87.     Specifically, the study found that an estimated 1.64% of women who never used

chemical hair relaxers would go on to develop uterine cancer by the age of 70. However, frequent

users of hair relaxers were nearly three 3 more likely to develop uterine cancer than women who

never used hair relaxers.42

       88.     The study found that women who had ever used hair relaxers had an approximately

doubled risk of developing uterine cancers as compared to women who did not use hair relaxers.

               2.      Ovarian Cancer

       89.     In a 2021 study funded by NIH and the National Institute on Minority Health

Sciences, frequent use of hair relaxers was strongly associated with ovarian cancer.43



39
   Id.
40
   https://www.cancer.org/cancer/types/endometrial-cancer/causes-risks-prevention/risk-
factors.html
41
   Che-Jung Chang, et al., Use of Straighteners and Other Hair Products and Incident Uterine
Cancer, Journal of the National Cancer Institute, Oct. 17, 2022,
https://pubmed.ncbi.nlm.nih.gov/36245087
42
   Id.
43
   White, AJ, Sandler DP, Gaston SA, Jackson CL, O'Brien KM, Use of hair products in relation
to ovarian cancer risk. Carcinogenesis. 2021 Oct 5; 42(9):1189-1195. doi:
10.1093/carcin/bgab056. PMID: 34173819; PMCID: PMC8561257,
https://pubmed.ncbi.nlm.nih.gov/34173819.


                                              - 36 -
       90.     In fact, the study revealed that those who frequently (four or more times per year)

used hair relaxers were more than twice as likely to develop ovarian cancer.44

       91.     It is estimated that 19,880 women in the United States will be diagnosed with

ovarian cancer in 2022, with an estimated 12,810 of those diagnoses resulting in death.45

       92.     Like uterine cancer, ovarian cancer is also believed to have a hormonally driven

etiology, meaning that the insertion of hormonal disrupting compounds and the subsequent

disruption of a woman’s hormonal balance could lead to ovarian cancer.46

       93.     Products that are used to relax hair texture have been found to contain an array of

endocrine disrupting compounds including, but not limited to, phthalates, parabens,

cyclosiloxanes, and metals, in addition to formaldehyde.47 These chemicals can alter the body’s

delicate hormonal balance, and cause spikes or drops in levels of estrogens and progesterones (as

well as other hormones).

       94.     Recent studies have found an association between personal hair care products,

including products that contain endocrine disrupting compounds, and ovarian cancer.48

       95.     Widely used chemical hair products, such as hair relaxers, are a source of exposure

to carcinogens and these endocrine disrupters alike.49

       96.     Other studies have found a positive correlation between the use of hair relaxers and

incidents of ovarian cancer. Self-reported frequent use of hair relaxers has been associated with a



44
   Id.
45
   Pinar Erkekoglu & Belma Kocer-Gumusel, Environmental Effects of Endocrine-Disrupting
Chemicals: A Special Focus on Phthalates and Bisphenol A, Environmental Health Risk, June
16, 2016, https://www.intechopen.com/chapters/50234
46
   White, Alexandra J., et al., Use of Hair Products in Relation to Ovarian Cancer Risk,
Carcinogeneisi Vol. 42, No. 9, 1189-1195, 1189 (2021).
47
   Id.
48
   Id.
49
   Id.


                                              - 37 -
higher risk of ovarian cancer.50 Black and Brown women, the overwhelming majority of

consumers of hair relaxer products, are more susceptible to the risk of ovarian cancer associated

with the use and distribution of Defendants’ products.

       C.      Regulatory Framework

       97.     The law does not require cosmetic products or ingredients, other than color

additives, to have FDA approval before they go to market. But there are laws and regulations that

apply to cosmetics placed into the market. The two most important laws pertaining to cosmetics

marketed in the United States are the Federal Food Drug and Cosmetic Act51 (“FD&C Act”) and

the Fair Packaging and Labeling Act52 (“FPLA”).

       98.     The FD&C Act expressly prohibits the marketing of “adulterated” or “misbranded”

cosmetics in interstate commerce.53

       99.     Adulteration refers to a violation involving product composition whether it results

from ingredients, contaminants, processing, packaging shipping or handling.54

       100.    Under the FD&C Act, a cosmetic is adulterated if, inter alia: (1) it bears or contains

any poisonous or deleterious substance causing injury to the product user, or (2) if its container is

composed in whole or in part, of any poisonous or deleterious substance which may render the

contents injurious to health.55

       101.    Misbranding refers to violations involving improperly labeled or deceptively

packaged products.56



50
   Id. at 1192.
51
   21 U.S.C. § 361 et. seq.
52
   15 U.S.C. § 1451 et. seq.
53
   21 U.S.C. § 361
54
   Id.
55
   Id.
56
   21 U.S.C. § 362.


                                               - 38 -
       102.      Under the FD&C Act, a cosmetic is misbranded if: (1) labeling is false or

misleading, (2) the label does not include all required information, (3) required information is not

prominent and conspicuous, or (4) the packaging and labeling is in violation of an applicable

regulation issued pursuant to section 3 and 4 of the Poison Prevention Packaging Act of 1970.57

       103.      Under federal law, cosmetic manufacturers are not required to submit their safety

data to the FDA. However, it is against the law to put an ingredient in a cosmetic that makes the

cosmetic harmful when used as intended.58 An example of such an ingredient is methylene chloride

because it causes cancer in animals and is likely harmful to humans.59

       104.      Companies and individuals who manufacture and/or market cosmetics have a legal

responsibility and duty to ensure the safety of their own products.

       105.      The FDA has consistently advised cosmetics manufacturers to use whatever testing

is necessary to ensure the safety of products and ingredients, which may be substantiated through:

(a) reliance on already available toxicological test data on individual ingredients and on product

formulations that are similar in composition to the particular cosmetic, and (b) performance of any

additional toxicological and other tests that are appropriate in light of such existing data and

information.60

       106.      Except for color additives and ingredients prohibited or restricted by regulation, a

manufacturer may use any ingredient in the formulation of a cosmetic, provided that: (1) the



57
   See id.
58
   Prohibited & Restricted Ingredients in Cosmetics, U.S. Food and Drug Administration,
https://www.fda.gov/cosmetics/cosmetics-laws-regulations/prohibited-restricted-ingredients-
cosmetics
59
   21 C.F.R. § 700.19.
60
   FDA Authority Over Cosmetics: How Cosmetics Are Not FDA-Approved, but Are FDA-
Regulated, U.S. Food and Drug Administration, Mar., 3, 2005,
https://www.fda.gov/cosmetics/cosmetics-laws-regulations/fda-authority-over-cosmetics-how-
cosmetics-are-not-fda-approved-are-fda-regulated


                                                - 39 -
ingredient and the finished cosmetic are safe under labeled or customary conditions of use, (2) the

product is properly labeled, and (3) the use of the ingredient does not otherwise cause the cosmetic

to be adulterated or misbranded under the laws the FDA enforces.61

           107.   With respect to whether the product is properly labeled, 21 CFR § 740.1 defines

the establishment of warning statements related to cosmetic products. § 740.1 states, “The label of

a cosmetic product shall bear a warning statement whenever necessary or appropriate to prevent a

health hazard that may be associated with the product.” (emphasis added). This warning directive

directly correlates with the broad authority and responsibility of manufacturers over their own

cosmetic products to ensure that products are safe under labeled or customary conditions of use,

properly labeled, and not adulterated or misbranded under FDA laws.

           108.   When a manufacturer is unable to adequately substantiate the safety of their product

before marketing, the product is considered to be misbranded if the principal display panel does

not include the required, “conspicuous statement” from 21 CFR § 740.10: “Warning – The safety

of this product has not been determined.”

           109.   In short, under the current regulatory framework the Defendants were and are

required to assess the safety of their hair relaxer products and warn consumers of any and all health

hazards.

           110.   Having this duty, Defendants failed to:

                  a.     Disclose the high risk of unreasonable, dangerous adverse side effects of

their hair relaxer products when used as intended; and/or

                  b.     Disclose that the hair relaxer products contained potential or known toxic

chemicals and carcinogens; and/or



61
     Id.


                                                 - 40 -
               c.      Disclose they had not properly tested the safety of their hair relaxer

products; and/or

               d.      Disclose that they did not research the safety of their hair relaxer products.

       111.    Defendants had the capacity to design hair relaxer products that were safer than the

hair relaxer products they sold to Plaintiffs and that caused Plaintiffs’ injuries alleged herein.

       112.    It was economically possible for Defendants to manufacture hair relaxer products

that were safer than the hair relaxer products they sold to Plaintiffs, and that caused Plaintiffs’

injuries alleged herein.

       113.    The alternative hair relaxer product designs that Defendants could have utilized

would not have changed the intended purpose of the hair relaxer products—to straighten otherwise

curly and/or kinky hair.

       114.    Such alternative safer designs include, but are not limited to:

               a.      Replacing toxic chemicals with readily available natural ingredients;

               b.      Oil treatments (such as olive, coconut, and/or avocado oils);

               c.      Hot combs and other methods of heat styling; and

               d.      Blow drying.

                                        CAUSES OF ACTION


                               Negligence and/or Gross Negligence

       115.    Plaintiffs incorporate by reference paragraphs 1 through 114 as if fully set forth

herein and further allege as follows.

       116.    At all relevant times, Defendants had a duty to exercise reasonable care in the

manufacturing, designing, researching, testing, producing, supplying, inspecting, marketing,

labeling, packaging, selling, and distributing of their hair relaxer products.



                                                - 41 -
       117.    Defendants’ duty to exercise reasonable care in the advertising and sale of their hair

relaxer products included a duty to warn Plaintiffs and other consumers of the risks and dangers

associated with their hair relaxer products that were known or should have been known to

Defendants at the time of the sale of their hair relaxer products to the Plaintiffs.

       118.    Defendants also owed a continuing duty to Plaintiffs to remove, recall, or retrofit

the unsafe and/or defective hair relaxer products across the United States and Territories (including

in each Plaintiff’s state or territory). At all relevant times, Defendants knew or should have known

through the exercise of reasonable care of the dangers associated with the normal and/or intended

use of their hair relaxer products. In particular, Defendants knew or should have known that

phthalates and other EDCs in their hair relaxer products significantly increase the risk of cancers

and other negative health conditions.

       119.    At all relevant times, Defendants knew, or should have known through the exercise

of reasonable care, that ordinary consumers such as Plaintiffs would not realize the potential risks

and dangers of their hair relaxer products.

       120.    Defendants breached their duty of care by manufacturing, designing, researching,

testing, producing, supplying, inspecting, marketing, selling, and/or distributing of their hair

relaxer products negligently, recklessly, and/or with extreme carelessness and by failing to

adequately warn of the risks and dangers of their hair relaxer products as described in the

allegations above. Such breaches include but are not limited to:

               a.      Failing to warn Plaintiffs and other consumers of the risks and dangers

associated with the use of their hair relaxer products;




                                                - 42 -
                b.     Failing to properly test their hair relaxer products to determine the adequacy

or effectiveness of safety measures, if any, prior to releasing their hair relaxer products for

consumer use;

                c.     Failing to properly test their hair relaxer products to determine the increased

risk of harm to the endocrine system including, uterine, ovarian, and/or endometrial cancers during

the normal and/or intended use of their hair relaxer products;

                d.     Designing their hair relaxer products defectively such that they caused

serious injuries or death when used in their intended and reasonably foreseeable manner;

                e.     Failing to inform Plaintiffs and other consumers as to the safe and proper

methods of handling and using their hair relaxer products;

                f.     Failing to remove or recall their hair relaxer products from the market when

Defendants knew or should have known their hair relaxer products were defective and/or

dangerous;

                g.     Failing to instruct the Plaintiffs and other consumers as to the methods for

reducing the type of exposure to their hair relaxer products which caused increased risk of cancer,

including, but not limited to, uterine, ovarian, and/or endometrial cancer;

                h.     Marketing and labeling their hair relaxer products as safe when Defendants

knew or should have known their hair relaxer products were defective and/or dangerous;

                i.     Claiming in labeling and marketing that their hair relaxer products are safe,

healthy, protective, and/or natural, including but not limited to the marketing assertions quoted

and displayed in the facts alleged above; and




                                                - 43 -
                j.       Failing to act like a reasonably prudent company under similar

circumstances. Each of these acts and omissions, taken singularly or in combination, were a

proximate cause of the injuries and damages sustained by Plaintiffs.

         121.   Defendants knew or should have known that consumers such as Plaintiffs would

foreseeably suffer injuries as a result of Defendants’ failure to exercise ordinary care as described

above.

         122.   Due to Defendants failure to exercise ordinary care or comply with their duties of

selling cosmetic products, Plaintiffs were not able to discover the dangerous nature of Defendants’

hair relaxer products.

         123.   Defendants’ acts and/or omissions constitute gross negligence because they

constitute a total lack of care and an extreme departure from what a reasonably careful company

would do in the same situation to prevent foreseeable harm to Plaintiffs and other consumers.

         124.   Defendants acted and/or failed to act willfully, and with conscious and reckless

disregard for the rights and interests of Plaintiffs and other consumers, Defendants’ acts and

omissions had a great probability of causing significant harm and in fact resulted in such harm to

Plaintiffs.

         125.   Defendants’ negligence and/or gross negligence was a direct and proximate cause

of the injuries, harm, and economic losses that Plaintiffs have suffered, and will continue to suffer,

as described herein.

         126.   Defendants’ negligence and/or gross negligence were a substantial factor in causing

and/or contributing to Plaintiff’s harms.

         127.   As a direct and proximate result of Plaintiffs’ reasonably anticipated use of

Defendants’ hair relaxer products as manufactured, designed, sold, supplied, marketed and/or




                                                - 44 -
introduced into the stream of commerce by Defendants, Plaintiffs suffered serious injury, harm,

damages, economic and non-economic loss and will continue to suffer such harm, damages and

losses in the future.

        128.    Defendants’ conduct with respect to their design and sale of their hair relaxer

products, including their negligent marketing, to Plaintiffs and the public was fraudulent,

malicious, oppressive, willful, reckless, and/or grossly negligent, and indicates a wanton disregard

of the rights of others, justifying an award of punitive or exemplary damages.


                                    Negligent Misrepresentation

        129.    Plaintiffs incorporate by reference paragraphs 1 through 114 as if fully set forth

herein and further allege as follows.

        130.    At all relevant times, Defendants had a duty to provide Plaintiffs and other

consumers with true and accurate information about their hair relaxer products, including warnings

of any risks they knew of or should have known of related to using their hair relaxer.

        131.    Defendants knew or should have known, based on evolving scientific studies and

research, of the safety risks associated with their hair relaxer products. Defendants knew or should

have known that their representations about the safety of their hair relaxer products were false, and

that they had a duty to both learn and disclose the dangers associated with their hair relaxer

products.

        132.    Defendants breached their duty in representing that their hair relaxer products have

no serious side effects when they knew or should have known that their products did cause serious

side effects as described herein.

        133.    From the time Defendants’ hair relaxer products were first tested, studied,

researched, evaluated, endorsed, manufactured, marketed, and/or distributed, and up to the present,



                                               - 45 -
Defendants failed to disclose material facts regarding the safety of their hair relaxer products to

Plaintiffs or the public.    At all relevant times, Defendants conducted sales and marketing

campaigns to promote the sale of their hair relaxer products and willfully deceived Plaintiffs and

the general public about the health risks and adverse consequences of the use of such products.

         134.   Defendants’ misrepresentations included but are not limited to the statements in

labels and marketing that their hair relaxer products are safe, healthy, protective, and/or natural,

including but not limited to the marketing assertions quoted and displayed in the facts alleged

above.

         135.   Defendants failed to exercise ordinary care in their representations concerning their

hair relaxer products by negligently misrepresenting their hair relaxer products’ high risk of

unreasonable, dangerous, health conditions, including but not limited to uterine, ovarian, and/or

endometrial cancer.

         136.   Defendants made such representations and failed to disclose such material facts

with the intent to induce consumers, including the Plaintiffs, into purchasing and using their hair

relaxer products.

         137.   Plaintiffs and other consumers justifiably relied on Defendants’ misrepresentations

and nondisclosures to their detriment. Specifically, Plaintiffs relied on representations that their

hair relaxer products were safe to use as expected and instructed, when they were not.

         138.   In reliance on the misrepresentations by the Defendants, Plaintiffs were induced to

purchase and use Defendants’ hair relaxer products. If Plaintiffs had known of the true facts and

the facts concealed by Defendants, Plaintiffs would not have purchased or used Defendants’ hair

relaxer products.




                                               - 46 -
        139.    As a direct and proximate result of the foregoing negligent misrepresentations by

Defendants, Plaintiffs suffered injuries and damages as alleged herein.

        140.    As a direct and proximate result of Plaintiffs’ reasonably anticipated use of

Defendants’ hair relaxer products as manufactured, designed, sold, supplied, marketed and/or

introduced into the stream of commerce by Defendants, Plaintiffs suffered serious injury, harm,

damages, economic and non-economic loss and will continue to suffer such harm, damages and

losses in the future.

        141.    Defendants’ conduct with respect to their design and sale of their hair relaxer

products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and indicates a wanton disregard of the rights of others, justifying an award of

punitive or exemplary damages.

        142.    Due to the above, Defendants are liable to Plaintiffs for compensatory and punitive

damages to the extent available, in amounts to be proven at trial, together with interest, costs of

suit, attorneys’ fees and all such other relief as the Court deems proper.


                                         Negligence Per Se

        143.    Plaintiffs incorporate by reference paragraphs 1 through 114 as if fully set forth

herein and further allege as follows.

        144.    The Food, Drug, and Cosmetic Act, 21 U.S.C. ch. 9 § 301 et seq., and its

accompanying regulations, are implemented to regulate and promote safety in the design,

manufacturing, marketing, branding, labeling, and sale of food, drugs, and cosmetics, including

Defendants’ hair relaxer products.

        145.    Upon information and belief, Defendants’ conduct violated one or more statutes or

related regulations, including but not limited to the following:



                                                - 47 -
                 a.      21 U.S.C. § 331;

                 b.      21 U.S.C. § 361;

                 c.      21 U.S. Code § 362; and

                 d.      21 CFR Part 740, including but not limited to 21 CFR § 740.1 and 21 CFR

§ 740.10.

          146.   Plaintiffs are currently unadvised of the full extent of the federal or state safety laws

and regulations that Defendants or their agents may have violated but reserve the right to rely on

such safety laws and regulations shown during discovery.

          147.   Defendants’ violation of such safety laws and regulations constitutes negligence

per se.

          148.   As a direct and proximate result of Plaintiffs’ reasonably anticipated use of

Defendants’ hair relaxer products as manufactured, designed, sold, supplied, marketed and/or

introduced into the stream of commerce by Defendants, Plaintiffs suffered serious injury, harm,

damages, economic and non-economic loss and will continue to suffer such harm, damages and

losses in the future.

          149.   Defendants’ conduct with respect to their design and sale of their hair relaxer

products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and indicates a wanton disregard of the rights of others, justifying an award of

punitive or exemplary damages.


                                    Strict Liability: Design Defect

          150.   Plaintiffs incorporate by reference paragraphs 1 through 114 as if fully set forth

herein and further allege as follows.




                                                  - 48 -
       151.    Defendants designed, manufactured, marketed, and sold their hair relaxer products

that were used by Plaintiffs, and Defendants were in the business of selling their hair relaxer

products.

       152.    Defendants’ hair relaxer products were in an unsafe, defective, and unreasonably

dangerous condition at the time they left Defendants’ possession because of their design. In

particular, Defendants’ hair relaxer products were defectively designed because they caused

serious injuries and death, including but not limited to uterine cancer and ovarian cancer.

       153.    Defendants’ hair relaxer products are unreasonably dangerous as designed because

they do not perform as safely as an ordinary consumer, including Plaintiffs, would expect when

used in an intended or reasonably foreseeable manner.

       154.    Defendants’ hair relaxer products are unreasonably dangerous as designed because

the danger inherent in their design outweighs the benefits of that design.

       155.    Defendants caused their hair relaxer products to enter the stream of commerce and

to be sold to consumers, including Plaintiffs, through a variety of channels, including through sales

to hair salons for use with their customers as well as direct sale to consumers through retail stores.

       156.    Defendants’ hair relaxer products were expected to, and did, reach consumers,

including Plaintiffs, without substantial change in the condition in which those products were

manufactured and sold or otherwise released into the stream of commerce by Defendants.

       157.    Plaintiffs used the Defendants’ hair relaxer products for the purposes and in a

manner normally intended, recommended, promoted, and marketed by Defendants.

       158.    Defendants knew or should have known that their products were in a defective

condition as a result of their design, and were unreasonably dangerous when used in an intended

or reasonably foreseeable manner.




                                                - 49 -
        159.    At all times material to Plaintiffs’ claims, there were technologically and

economically feasible safer alternative designs that would have prevented or substantially reduced

the risk to Plaintiffs without substantially impairing the utility of their hair relaxer products.

        160.    As a direct and proximate result of Plaintiffs’ reasonably anticipated use of their

hair relaxer products as manufactured, designed, sold, supplied, marketed and/or introduced into

the stream of commerce by Defendants, Plaintiffs suffered serious injury, harm, damages,

economic and non-economic loss and will continue to suffer such harm, damages, and losses in

the future.

        161.    Defendants’ conduct with respect to their design and sale of their hair relaxer

products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and indicates a wanton disregard of the rights of others, justifying an award of

punitive or exemplary damages.

        162.    Plaintiffs plead this claim for relief in the broadest sense and seek the full measure

of damages allowed under the applicable governing law, including the common law and, where

and to the extent applicable, all product liability acts, statutes, and laws.


                                 Strict Liability: Failure to Warn

        163.    Plaintiffs incorporate by reference paragraphs 1 through 114 as if fully set forth

herein and further allege as follows.

        164.    Defendants designed, manufactured, marketed, and sold their hair relaxer products

that were used by Plaintiffs, and Defendants were in the business of selling hair relaxer products.

        165.    Defendants’ hair relaxer products were in an unsafe, defective, and unreasonably

dangerous condition at the time they left Defendants’ possession because they were not

accompanied by adequate warnings.



                                                 - 50 -
        166.    In particular, Defendants knew or should have known that their hair relaxer

products could cause serious injuries and death when used in an intended or reasonably foreseeable

manner, including but not limited to uterine cancer, ovarian cancer, and endometrial cancer.

Defendants failed to give appropriate and adequate warning of such risks. In fact, Defendants

continue to this day to market and sell their products to consumers without adequate warnings of

the risks associated with their use.

        167.    If Defendants had warned Plaintiffs that use of their hair relaxer products in an

intended or reasonably foreseeable manner would increase their risk of being seriously injured,

including but not limited to developing uterine cancer, ovarian cancer, or endometrial cancer,

Plaintiffs would not have used their hair relaxer products.

        168.    Defendants caused their hair relaxer products to enter the stream of commerce and

to be sold to consumers, including Plaintiffs, through a variety of channels, including through sales

to hair salons for use with their customers and directly to consumers through retail stores.

        169.    Defendants’ hair relaxer products were expected to, and did, reach consumers,

including Plaintiffs, without substantial change in the condition in which their hair relaxer products

were manufactured and sold or otherwise released into the stream of commerce by Defendants.

        170.    Plaintiffs used the Defendants’ hair relaxer products for the purposes and in a

manner normally intended, recommended, promoted, and marketed by Defendants.

        171.    As a direct and proximate result of Plaintiffs’ reasonably anticipated use of

Defendants’ hair relaxer products as manufactured, designed, sold, supplied, marketed and/or

introduced into the stream of commerce by Defendants, Plaintiffs suffered serious injury, harm,

damages, economic and non-economic loss and will continue to suffer such harm, damages, and

losses in the future.




                                                - 51 -
       172.    Defendants’ conduct with respect to their design and sale of their Hair Relaxer

Products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and indicates a wanton disregard of the rights of others, justifying an award of

punitive or exemplary damages.


         Breach of Implied Warranty of Merchantability/Fitness for Particular Use

       173.    Plaintiffs incorporate by reference paragraphs 1 through 114 as if fully set forth

herein and further allege as follows.

       174.    Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

       175.    Prior to the time that the Plaintiffs purchased and/or used Defendants’ hair relaxer

products, Defendants knew of the uses for which their hair relaxer products were intended and

impliedly warranted to Plaintiffs that their hair relaxer products were of merchantable quality and

safe and fit for such intended and ordinary uses. Defendants also impliedly warranted to Plaintiffs

that their hair relaxer products were of a certain quality.

       176.    Defendants’ warranties included but are not limited to the warranties that their hair

relaxer products are safe, healthy, protective, and/or natural, including but not limited to the

marketing assertions quoted and displayed in the facts alleged above.

       177.    Defendants breached their implied warranties of their hair relaxer products sold to

Plaintiffs because they were not fit for their ordinary purposes and intended and reasonably

foreseeable uses. Nor were their hair relaxer products minimally safe for their expected purpose.

       178.    Defendants’ hair relaxer products were neither safe for their intended use nor of

merchantable quality, as warranted by Defendants, because their hair relaxer products have




                                                - 52 -
dangerous propensities when used as intended and cause severe injuries to users including

Plaintiffs.

        179.   Similarly, Defendants’ hair relaxer products were unfit for their particular

purpose—safely straightening hair. Defendants’ hair relaxer products could not and do not safely

straighten hair, and never could at any point after leaving the Defendants’ control.

        180.   Defendants’ hair relaxer products were unfit for their ordinary use, were not of

merchantable quality, did not conform to the representations made by Defendants, and/or were

unfit for their particular purpose when they left Defendants’ control.

        181.   At the time Plaintiffs purchased or used Defendants’ hair relaxer products,

Defendants knew or should have known that Plaintiffs would detrimentally rely on Defendants’

misrepresentations regarding safety.

        182.   Plaintiffs purchased or used Defendants’ hair relaxer products reasonably relying

upon Defendants’ warranties.

        183.   Plaintiffs used Defendants’ hair relaxer products for the purpose and in the manner

intended by Defendants.

        184.   Plaintiffs could not have discovered the breached warranties or realized

Defendants’ hair relaxer products' danger through the use of reasonable care.

        185.   Plaintiffs would not have purchased or used Defendants’ hair relaxer products if

they had known the truth about the misrepresentations described above, or that Defendants’ hair

relaxer products were unfit for ordinary use or their particular purpose.

        186.   Defendants’ conduct described in this Complaint constitutes a breach of implied

warranties under the following statutes:

               a.      Ala. Code § 7-2-314, et seq.;




                                               - 53 -
b.   Alaska Stat. § 45.02.314, et seq.;

c.   Ariz. Rev. Stat. § 47-2314, et seq.;

d.   Ark. Code § 4-2-314, et seq.;

e.   Cal. Com. Code § 2314, et seq.;

f.   Cal. Civ. Code § 1790, et seq.;

g.   Colo. Rev. Stat. § 4-2-314, et seq.;

h.   Conn. Gen. Stat. § 42a-2-314, et seq.;

i.   6 Del. C. § 2-314, et seq.;

j.   D.C. Code § 28:2-314, et seq.;

k.   Fla. Code § 672.314, et seq.;

l.   O.C.G.A. § 11-2-314, et seq.;

m.   Haw. Rev. Stat. § 490:2-314, et seq.;

n.   Idaho Code § 28-2-314, et seq.;

o.   810 Ill. Comp. Stat. 5/2-314, et seq.;

p.   Ind. Code § 26-1-2-314, et seq.;

q.   Iowa Code § 554.2314, et seq.;

r.   Kan. Stat. § 84-2-314, et seq.;

s.   Ky. Rev. Stat. § 355.2-314, et seq.;

t.   La. Rev. Stat § 9:2800.53(6) , et seq.;

u.   11 M.R.S.A. § 2-314, et seq.;

v.   Md. Code Ann., Com. Law § 2-314, et seq.;

w.   Mass. Code 106, § 2-314, et seq.;

x.   Mich. Comp. Laws 440.2314, et seq.;




                             - 54 -
y.    Minn. Stat. § 336.2-314, et seq.;

z.    Miss. Code § 75-2-314, et seq.;

aa.   Mo. Rev. Stat. § 400.2-314, et seq.;

bb.   Mont. Code § 30-2-314, et seq.;

cc.   Neb. U.C.C. § 2-314, et seq.;

dd.   Nev. Rev. Stat. § 104.2314, et seq.;

ee.   N.H. Rev. Stat. § 382-A:2-314, et seq.;

ff.   N.J. Stat. § 12A:2-314, et seq.;

gg.   N.M. Stat. § 55-2-314, et seq.;

hh.   N.Y. U.C.C. § 2-314, et seq.;

ii.   N.C. Gen. Stat. § 25-2-314, et seq.;

jj.   N.D. Cent. Code § 41-02-30, et seq.;

kk.   Ohio Rev. Code § 1302.26, et seq.;

ll.   Okla. Stat. Tit. 12A, § 2-314, et seq.;

mm.   Or. Rev. Stat. § 72.3130, et seq.;

nn.   13 Pa. Cons. Stat. § 2314, et seq.;

oo.   R.I. Gen. Laws § 6A-2-314, et seq.;

pp.   S.C. Code § 36-2-313, et seq.;

qq.   S.D. Codified Laws § 57A-2-313, et seq.;

rr.   Tenn. Code § 47-2- 314, et seq.;

ss.   V.T.C.A., Bus. & C. § 2.314, et seq.;

tt.   Utah Code § 70A-2-314, et seq.;

uu.   Vt. Stat. Tit. 9A, § 2-314, et seq.;




                               - 55 -
                vv.     Va. Code § 8.2-314, et seq.;

                ww.     Wash. Rev. Code § 62A.2-314, et seq.;

                xx.     W. Va. Code § 46-2-314, et seq.;

                yy.     Wis. Stat. § 402.314, et seq.;

                zz.     Wyo. Stat. § 34.1-2-314, et seq.;

                aaa.    American Samoa Code Ann. § 27.0701, et seq.;

                bbb.    13 Guam Code Ann. §§ 2314 and 2315, et seq.;

                ccc.    5 C.M.C. §§ 2314 and 2315, et seq.; and

                ddd.    11A Virgin Is. Code §§ 2-214 and 2-215, et seq.

        187.    Defendants’ conduct described in this Complaint also constitutes a breach of

implied warranties under the common law of Puerto Rico.

        188.    Defendants’ conduct described in this Complaint also constitutes a breach of

implied warranties under the Magnuson-Moss Warranty Act (15 U.S.C. § 2301, et seq.).

        189.    Defendants’ hair relaxer products are consumer products, Plaintiffs are consumers,

Defendants are suppliers and/or warrantors of the defective hair relaxer products, and Defendants

breached their implied warranties as described above.

        190.    The breach of warranties was a substantial factor in bringing about Plaintiffs’

injuries.

        191.    As a direct and proximate result of Plaintiffs’ reasonably anticipated use of

Defendants’ hair relaxer products as manufactured, designed, sold, supplied, marketed and/or

introduced into the stream of commerce by Defendants, Plaintiffs suffered serious injury, harm,

damages, economic and non-economic loss and will continue to suffer such harm, damages and

losses in the future.




                                                - 56 -
       192.    Defendants’ conduct with respect to their design and sale of their hair relaxer

products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and indicates a wanton disregard of the rights of others, justifying an award of

punitive or exemplary damages.

       193.    Plaintiffs did not need to send (additional) notice to Defendants of their breaches

of warranty because Defendants were already on notice of the defects alleged herein and

Defendants’ related violations, including already facing similar lawsuits for the same conduct.


   Breach of Express Warranty under state law and the Magnuson-Moss Warranty Act,
                               15 U.S.C. § 2301 et. seq.

       194.    Plaintiffs incorporate by reference paragraphs 1 through 114 as if fully set forth

herein and further allege as follows.

       195.    Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling hair relaxer products.

       196.    Defendants expressly represented and warranted to Plaintiffs, through statements

made by Defendants or their authorized agents in direct-to-consumer marketing, advertisements,

and labels, that their hair relaxer products were safe and effective for their reasonably expected

and intended use—straightening hair.

       197.    Defendants’ warranties included but are not limited to the warranties that their hair

relaxer products are safe, healthy, protective, and/or natural, including but not limited to the

marketing assertions quoted and displayed in the facts alleged above.

       198.    These and other (mis)representations were made directly by the manufacturer or

seller to consumers and end users of Defendants’ hair relaxer products, constitute express

warranties, and became part of the basis of the bargain between the parties and created a collective




                                                - 57 -
express warranty that their hair relaxer products would conform to Defendants’ affirmations and

promises.

        199.   Defendants breached their express warranties about their hair relaxer products and

their qualities because Defendants’ statements about their hair relaxer products’ safety were false

and their hair relaxer products did not conform to those affirmations and promises. Defendants’

hair relaxer products were not safe, but rather exposed Plaintiffs and other consumers to

unreasonable risks of adverse health effects including cancer.

        200.   At the time Plaintiffs purchased or used Defendants’ hair relaxer products,

Defendants knew or should have known that Plaintiffs would detrimentally rely on Defendants’

misrepresentations regarding safety.

        201.   Plaintiffs purchased or used Defendants’ hair relaxer products reasonably relying

upon Defendants’ warranties.

        202.   Plaintiffs used Defendants’ hair relaxer products for the purpose and in the manner

intended by Defendants.

        203.   Plaintiffs could not have discovered the breached warranties or realized

Defendants’ hair relaxer products’ danger through the use of reasonable care.

        204.   Plaintiffs would not have purchased or used Defendants’ hair relaxer products if

they had known the truth about the misrepresentations described above, or that Defendants’ hair

relaxer products were unfit for ordinary use or their particular purpose.

        205.   The breach of the warranties was a substantial factor in bringing about Plaintiffs’

injuries.

        206.   Defendants’ conduct described in this Complaint constitutes a breach of express

warranties under the following statutes:




                                               - 58 -
a.   Ala. Code § 7-2-313, et seq.;

b.   Alaska Stat. § 45.02.313, et seq.;

c.   Ariz. Rev. Stat. § 47-2313, et seq.;

d.   Ark. Code § 4-2-313, et seq.;

e.   Cal. Com. Code § 2313, et seq.;

f.   Cal. Civ. Code § 1790, et seq.;

g.   Colo. Rev. Stat. § 4-2-313, et seq.;

h.   Conn. Gen. Stat. § 42a-2-313, et seq.;

i.   6 Del. C. § 2-313, et seq.;

j.   D.C. Code § 28:2-313, et seq.;

k.   Fla. Code § 672.313, et seq.;

l.   O.C.G.A. § 11-2-313, et seq.;

m.   Haw. Rev. Stat. § 490:2-313, et seq.;

n.   Idaho Code § 28-2-313, et seq.;

o.   810 Ill. Comp. Stat. 5/2-313, et seq.;

p.   Ind. Code § 26-1-2-313, et seq.;

q.   Iowa Code § 554.2313, et seq.;

r.   Kan. Stat. § 84-2-313, et seq.;

s.   Ky. Rev. Stat. § 355.2-313, et seq.;

t.   La. Rev. Stat § 9:2800.53(6) , et seq.;

u.   11 M.R.S.A. § 2-313, et seq.;

v.   Md. Code Ann., Com. Law § 2-313, et seq.;

w.   Mass. Code 106, § 2-313, et seq.;




                             - 59 -
x.    Mich. Comp. Laws 440.2313, et seq.;

y.    Minn. Stat. § 336.2-313, et seq.;

z.    Miss. Code § 75-2-313, et seq.;

aa.   Mo. Rev. Stat. § 400.2-313, et seq.;

bb.   Mont. Code § 30-2-313, et seq.;

cc.   Neb. U.C.C. § 2-313, et seq.;

dd.   Nev. Rev. Stat. § 104.2313, et seq.;

ee.   N.H. Rev. Stat. § 382-A:2-313, et seq.;

ff.   N.J. Stat. § 12A:2-313, et seq.;

gg.   N.M. Stat. § 55-2-313, et seq.;

hh.   N.Y. U.C.C. § 2-313, et seq.;

ii.   N.C. Gen. Stat. § 25-2-313, et seq.;

jj.   N.D. Cent. Code § 41-02-30, et seq.;

kk.   Ohio Rev. Code § 1302.26, et seq.;

ll.   Okla. Stat. Tit. 12A, § 2-313, et seq.;

mm.   Or. Rev. Stat. § 72.3130, et seq.;

nn.   13 Pa. Cons. Stat. § 2313, et seq.;

oo.   R.I. Gen. Laws § 6A-2-313, et seq.;

pp.   S.C. Code § 36-2-313, et seq.;

qq.   S.D. Codified Laws § 57A-2-313, et seq.;

rr.   Tenn. Code § 47-2- 313, et seq.;

ss.   V.T.C.A., Bus. & C. § 2.313, et seq.;

tt.   Utah Code § 70A-2-313, et seq.;




                              - 60 -
               uu.     Vt. Stat. Tit. 9A, § 2-313, et seq.;

               vv.     Va. Code § 8.2-313, et seq.;

               ww.     Wash. Rev. Code § 62A.2-313, et seq.;

               xx.     W. Va. Code § 46-2-313, et seq.;

               yy.     Wis. Stat. § 402.313, et seq.;

               zz.     Wyo. Stat. § 34.1-2-314, et seq.;

               aaa.    American Samoa Code Ann. § 27.0701, et seq.;

               bbb.    13 Guam Code Ann. § 2313, et seq.;

               ccc.    5 C.M.C. § 2313, et seq.; and

               ddd.    11A Virgin Is. Code § 2-213, et seq.

       207.    Defendants’ conduct described in this Complaint also constitutes a breach of

express warranties under the common law of Puerto Rico.

       208.    Defendants’ conduct described in this Complaint also constitutes a breach of

express warranties under the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301, et seq. The Hair

Relaxer Products are “consumer products” because they are normally used for personal purposes

and were, in fact, purchased primarily for personal use. Id. at § 2301(1). Plaintiffs are “consumers”

as that term is defined in § 2301(3). Defendants are “suppliers” and “warrantors.” Id. at § 2301(4)-

(5). Defendants’ hair relaxer products express warranties constitute a “written warranty” 15 U.S.C.

§ 2301(6).

       209.    Defendants’ failure to tender their hair relaxer products to Plaintiffs free of defects

constitutes a breach of the written warranties covering their hair relaxer products, in violation of

the Magnuson Moss Warranty Act. Defendants are on notice of their defective hair relaxer




                                                - 61 -
products, yet Defendants have failed to cure the damage resulting therefrom within a reasonable

time.

        210.    Defendants’ breach of warranties was a substantial factor in bringing about

Plaintiffs’ injuries.

        211.    As a direct and proximate result of Plaintiffs’ reasonably anticipated use of

Defendants’ hair relaxer products as manufactured, designed, sold, supplied, marketed and/or

introduced into the stream of commerce by Defendants, Plaintiffs suffered serious injury, harm,

damages, economic and non-economic loss and will continue to suffer such harm, damages, and

losses in the future.

        212.    Defendants’ conduct with respect to their design and sale of their hair relaxer

products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and indicates a wanton disregard of the rights of others, justifying an award of

punitive or exemplary damages.


                              Fraud/Fraudulent Misrepresentation

        213.    Plaintiffs incorporate by reference paragraphs 1 through 114 as if fully set forth

herein and further allege as follows.

        214.    Defendants, who engaged in the development, manufacture, marketing, sale, and/or

distribution of cosmetic and personal care products, of Defendants’ hair relaxer products, owed a

duty to Plaintiffs and other consumers to provide accurate and complete information.

        215.    Defendants knew or should have known that their hair relaxer products significantly

increase the risk of cancers and other negative health conditions from the evolving scientific

literature and research over the past decades, yet, Defendants willfully deceived Plaintiffs by

concealing these facts from them, which Defendants had a duty to disclose.



                                                - 62 -
       216.    In addition to monitoring the evolving scientific literature, Defendants were or

should have been testing their hair relaxer products to ensure they were not harmful to Plaintiffs

when used in their intended manner.

       217.    At all relevant times, Defendants conducted sales and marketing campaigns that

willfully deceived Plaintiffs and other consumers as to the benefits, health risks and consequences

of using Defendants’ hair relaxer products.

       218.    Defendants knowingly, falsely, deceptively, and inaccurately designated and

represented that their hair relaxer products were safe, with the intent to mislead and deceive

consumers including Plaintiffs.

       219.    Defendants fraudulently misrepresented the use of their hair relaxer products as

safe, healthy, protective, and/or natural, including but not limited to the marketing assertions

quoted and displayed in the facts alleged above. Defendants willfully and intentionally failed to

disclose and concealed material facts, and made false representations regarding the dangers and

safety concerns of their hair relaxer products.

       220.    Defendants concealed and suppressed the true facts concerning their hair relaxer

products.

       221.    Defendants knew that these misrepresentations and/or omissions were material, and

that they were false, incomplete, misleading, deceptive, and/or deceitful when they were made.

       222.    Defendants made the misrepresentations and/or omissions for the purpose of

deceiving and defrauding consumers, including Plaintiffs, with the intention of having them act

and rely on such misrepresentations and/or omissions.

       223.    Plaintiffs relied, with reasonable justification, on the misrepresentations by

Defendants, which induced them to purchase and use Defendants’ hair relaxer products, sometimes




                                                  - 63 -
on a regular basis for decades. Plaintiffs did not know about safety concerns with Defendants’ hair

relaxer products at the time Defendants made their misrepresentations and/or omissions, and

Plaintiffs did not discover the true facts until after purchasing and using Defendants’ hair relaxer

products, nor could they have done so with reasonable diligence. Had Plaintiffs known the true

facts, they would not have purchased or used Defendants’ hair relaxer products.

        224.    Defendants profited significantly from their unlawful conduct that fraudulently

induced Plaintiffs and other consumers to purchase dangerous and defective hair relaxer products.

        225.    Consumers, including Plaintiffs, required, and should have been provided with,

truthful, accurate, and correct information concerning the safety of Defendants’ hair relaxer

products.

        226.    As a direct and proximate result of Plaintiffs’ reasonably anticipated use of

Defendants’ hair relaxer products as manufactured, designed, sold, supplied, marketed and/or

introduced into the stream of commerce by Defendants, Plaintiffs suffered serious injury, harm,

damages, economic and non-economic loss and will continue to suffer such harm, damages, and

losses in the future.

        227.    Defendants’ conduct with respect to their design and sale of their hair relaxer

products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and indicates a wanton disregard of the rights of others, justifying an award of

punitive or exemplary damages.


                                     Fraudulent Concealment

        228.    Plaintiffs incorporate by reference paragraphs 1 through 114 as if fully set forth

herein and further allege as follows.




                                                - 64 -
       229.    Defendants owed consumers, including Plaintiffs, a duty to fully and accurately

disclose all material facts regarding their hair relaxer products, not to conceal material defects in

their hair relaxer products, not to place these defective hair relaxer products into the stream of

commerce, and to fully and accurately label packaging of their hair relaxer products. To the

contrary, Defendants explicitly and/or implicitly represented that their hair relaxer products were

safe and effective.

       230.    Defendants had unique and private access to the ingredients, manufacturing,

development, design, production, research, and/or testing of the Defendants’ hair relaxer products,

and thus unique access to material facts regarding the safety of their hair relaxer products.

       231.    At all relevant times, Defendants committed a continuing fraud in obfuscating and

failing to disclose such material facts, in whole or in part, to induce consumers, including Plaintiffs,

to purchase and use Defendants’ hair relaxer products.

       232.    Plaintiffs did not and could not have discovered with reasonable diligence the true

facts relating to the unsafe nature of Defendants’ hair relaxer products.

       233.    Plaintiffs reasonably relied on the facts revealed and representations made by

Defendants, who negligently, recklessly, fraudulently, and/or purposefully concealed and material

facts about the dangers of their hair relaxer products.

       234.    Defendants made the misrepresentations and/or omissions described in this

Complaint for the purpose of deceiving and defrauding Plaintiffs with the intention of having

Plaintiffs act and rely on such misrepresentations and/or omissions.

       235.    Defendants knew that their concealments, misrepresentations, and/or omissions

were material, and that they were false, incomplete, misleading, deceptive, and deceitful when




                                                 - 65 -
they were made, and/or made the representations or concealment with such reckless disregard for

the truth that knowledge of the falsity can be imputed to them.

        236.    Defendants profited significantly from their unethical and illegal conduct that

caused Plaintiffs to purchase and use dangerous and defective hair relaxer products.

        237.    Defendants’ concealment and misrepresentations, and Plaintiff’s justifiable

reliance thereon, were substantial contributing factors in causing injury and incurrence of

substantial damages.

        238.    As a direct and proximate result of Plaintiffs’ reasonably anticipated use of

Defendants’ hair relaxer products as manufactured, designed, sold, supplied, marketed and/or

introduced into the stream of commerce by Defendants, Plaintiffs suffered serious injury, harm,

damages, economic and non-economic loss and will continue to suffer such harm, damages, and

losses in the future.

        239.    Defendants’ conduct with respect to their design and sale of their hair relaxer

products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and indicates a wanton disregard of the rights of others, justifying an award of

punitive or exemplary damages.


                 U.S. State and Territory Statutory Consumer Protection and
                          Unfair or Deceptive Trade Practices Claims

        240.    Plaintiffs incorporate by reference paragraphs 1 through 114 as if fully set forth

herein and further allege as follows.

        241.    Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the state and territory consumer protection statutes listed

below when they misled consumers regarding the safety risks associated with use of their hair

relaxer products. As a direct result of Defendants’ deceptive, unfair, unconscionable, and


                                                 - 66 -
fraudulent conduct, Plaintiffs suffered and will continue to suffer economic loss, pecuniary loss,

personal injury, loss of companionship and society, mental anguish and/or other compensable

injuries.

        242.   Defendants have engaged in unfair competition and/or unfair, deceptive, and/or

unconscionable acts or practices in violation of:

               a.      Ala. Code § 8-19-1 et seq.;

               b.      Alaska Stat. § 45.50.471 et seq.;

               c.      Ariz. Rev. Stat. Ann. § 44-1521 et seq.;

               d.      Ark. Code Ann. § 4-88-101 et seq.;

               e.      Cal. Civil Code § 1750 et seq. and Cal. Bus. & Prof. Code § 17200 et seq.;

               f.      Colo. Rev. Stat. § 6-1-101 et seq.;

               g.      Conn. Gen. Stat. Ann. § 42-110a et seq.;

               h.      Del. Code Ann. tit. 6 § 2511 et seq.;

               i.      D.C. Code Ann. § 28-3901 et seq.;

               j.      Fla. Stat. Ann. § 501.201 et seq.;

               k.      Ga. Code Ann. § 10-1-370 et seq.;

               l.      Haw. Rev. Stat. § 480-1 et seq. and 481A-1 et seq.;

               m.      Idaho Code § 48-601 et seq.;

               n.      815 Ill. Comp. Stat. 505/1 et seq.;

               o.      Ind. Code Ann. § 24-5-0.5-1 et seq.;

               p.      Iowa Code § 714.16 et seq.;

               q.      Kan. Stat. Ann. § 50-623 et seq.;

               r.      Ky. Rev. Stat. Ann. § 367.170 et seq.;




                                               - 67 -
s.    La. Rev. Stat. Ann. § 51:1401 et seq.;

t.    Me. Rev. Stat. Ann. tit. 5, § 205-A et seq.;

u.    Md. Code Ann., Com. Law § 13-301 et seq.;

v.    Mass. Gen. Laws ch. 93A, § 1 et seq.;

w.    Mich. Comp. Laws Ann. § 445.901 et seq.;

x.    Minn. Stat. §§ 325D.09 et seq., 325D.43 et seq., 325F.67, 325F.68 et seq.,
      and § 8.31;

y.    Miss. Code Ann. § 75-24-5 et seq.;

z.    Mo. Ann. Stat. § 407.010 et seq.;

aa.   Mont. Code Aim. § 30-14-101 et seq.;

bb.   Neb. Rev. Stat. § 87-301 et seq.;

cc.   Nev. Rev. Stat. Ann. §§ 598.0903 et seq. and 41.600;

dd.   N.H. Rev. Stat. Ann. § 358-A:1 et seq.;

ee.   N.J. Stat. Ann. § 56:8-1 et seq.;

ff.   N.M. Stat. Ann. § 57-12-1 et seq.;

gg.   N.Y. Gen. Bus. Law §§ 349 et seq., 350, 350-a and 350-e et seq.;

hh.   N.C. Gen. Stat. § 75-1 et seq.;

ii.   N.D. Cent. Code §§ 51-12-01 et seq. and 51-15-01 et seq.;

jj.   Ohio Rev. Code Ann. § 1345.01 et seq.;

kk.   Okla. Stat. Ann. tit. 15, § 751 et seq.;

ll.   Or. Rev. Stat. § 646.605 et seq.;

mm.   73 Pa. Cons. Stat. § 201-1 et seq.;

nn.   R.I. Gen. Laws § 6-13.1-1 et seq.;

oo.   S.C. Code Ann. § 39-5-10 et seq.;



                               - 68 -
               pp.       S.D. Codified Laws § 37-24-1 et seq.;

               qq.       Tenn. Code Ann. § 47-18-101 et seq.;

               rr.       Tex. Bus. & Com. Code Ann. § 17.41 et seq.;

               ss.       Utah Code Ann. § 13-11-1 et seq.;

               tt.       Vt. Stat. Ann. tit. 9, § 2451 et seq.;

               uu.       Va. Code Ann. § 59.1-196 et seq.;

               vv.       Wash. Rev. Code Ann. § 19.86.010 et seq.;

               ww.       W.Va. Code § 46A-6-101 et seq.;

               xx.       Wis. Stat. Ann. §§ 100.18 and 421.101 et seq.;

               yy.       Wyo. Stat. Ann. § 40-12-101 et seq.;

               zz.       American Samoa Code Ann. § 27.0401 et seq.;

               aaa.      4 CMC § 5101 et seq.;

               bbb.      5 Guam Code Ann. § 32102 et seq.; and

               ccc.      12A Virgin Is. Code § 301 et seq.

       243.    Defendants’ deceptive, unfair, unlawful, and unconscionable practices included but

were not limited to the following practices, done knowingly:

               a.        Representing that goods have characteristics, ingredients, uses, or benefits

that they do not have;

               b.        Representing that goods are of a particular standard, quality, or grade if they

are of another; and

               c.        Advertising goods with the intent not to sell them as advertised.

       244.    Defendants actions and failure to act, including the false and misleading

representations and omissions of material facts regarding the safety and potential risks of their hair




                                                  - 69 -
relaxer products and the above described course of fraudulent conduct and fraudulent concealment

constitute acts, uses or employment by Defendants of unconscionable commercial practices,

deception, fraud, false pretenses, misrepresentations, and the knowing concealment, suppression

or omission of material facts with the intent that Plaintiffs and others rely upon such concealment,

suppression or omission of material facts in connection with the sale of merchandise of Defendants

in violation of the consumer protection statutes listed above.

        245.    Defendants’ unfair and deceptive trade practices have caused injuries to consumers,

and the public will benefit from a cessation of these unlawful actions through this litigation.

        246.    By reason of the unlawful acts engaged in by Defendants, Plaintiffs have suffered

ascertainable loss and damages.

        247.    As a direct and proximate result of Plaintiffs’ reasonably anticipated use of

Defendants’ hair relaxer products as manufactured, designed, sold, supplied, marketed and/or

introduced into the stream of commerce by Defendants, Plaintiffs suffered serious injury, harm,

damages, economic and non-economic loss and will continue to suffer such harm, damages and

losses in the future.

        248.    Defendants’ conduct with respect to their design and sale of their hair relaxer

products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and indicates a wanton disregard of the rights of others, justifying an award of

punitive or exemplary damages.

        249.    Due to the above, Defendants are liable to Plaintiffs for compensatory, as well as

exemplary, multiple, and/or punitive damages to the extent available and as applicable, in amounts

to be proven at trial, together with interest, costs of suit, attorneys’ fees and all such other relief as

the Court deems proper.




                                                  - 70 -
       250.    Plaintiffs did not need to send (additional) notice to Defendants of their violations

of the consumer protection statutes pled in this Complaint because Defendants were already on

notice of the defects alleged herein and Defendants’ related violations, including already facing

similar lawsuits for the same conduct.


                                         Unjust Enrichment

       251.    Plaintiffs incorporate by reference paragraphs 1 through 114 as if fully set forth

herein and further allege as follows.

       252.    As an intended and expected result of their conscious wrongdoing as set forth in

this Complaint, Defendants have profited and benefited from payments Plaintiffs and other

consumers made for their hair relaxer products.

       253.    In exchange for the payments made for Defendants’ hair relaxer products, at the

time payments were made, Plaintiffs expected that Defendants’ hair relaxer products were safe and

effective in the ways Defendants represented and for the purposes Defendants advertised their hair

relaxer products. In exchange for their payments, Plaintiffs believed they were receiving a safe

method for straightening hair that did not involve the risk of serious adverse health effects.

       254.    Defendants have voluntarily accepted and retained these payments with full

knowledge and awareness that, as a result of their wrongdoing, Plaintiffs paid for Defendants’ hair

relaxer products when they otherwise would not have done so. The failure of Defendants to

provide Plaintiffs with the remuneration expected enriched Defendants unjustly.

       255.    It is unjust to allow Defendants to earn and retain revenues, profits, and benefits

from their hair relaxer products while Plaintiffs suffered and are suffering serious illnesses,

including but not limited to uterine, ovarian, and/or endometrial cancer.




                                               - 71 -
       256.    Plaintiffs are entitled to equity to seek restitution of Defendants’ wrongful

revenues, profits, and benefits to the extent and in the amount deemed appropriate by the Court,

and such other relief as the Court deems just and proper to remedy Defendants’ unjust enrichment.


                                           Wrongful Death

       257.    Plaintiffs incorporate by reference paragraphs 1 through 256 as if fully set forth

herein and further allege as follows.

       258.    Decedent Plaintiffs died as a result of the defects in and undisclosed risks of

Defendants’ hair relaxer products and are survived by various family members, named and

unnamed.

       259.    The representatives/administrators of Decedent Plaintiffs’ estates and/or Decedent

Plaintiffs’ surviving heirs bring this claim on behalf of the Decedent Plaintiffs’ lawful heirs.

       260.    Defendants’ wrongful conduct, as described in this Complaint, has foreseeably,

directly, and proximately caused Decedent Plaintiffs’ heirs to suffer the loss of Decedents’

companionship, services, society, marital association, love, consortium, and/or all other damages

allowed under state statutes and laws.

       261.    Decedent Plaintiffs’ estate representatives and/or Decedent Plaintiffs’ surviving

heirs bring this claim on behalf of Decedent Plaintiffs’ lawful heirs for these damages and for all

pecuniary losses sustained by the heirs.

       262.    Decedent Plaintiffs’ estate representatives and/or Decedent Plaintiffs’ surviving

heirs further plead all wrongful death damages allowed by statue in the state/territory or

states/territories in which the causes of action accrued.

       263.    Defendants’ conduct with respect to their design and sale of their hair relaxer

products to Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or



                                                - 72 -
grossly negligent, and indicates a wanton disregard of the rights of others, justifying an award of

punitive or exemplary damages.


                                         Survival Action

       264.    Plaintiffs incorporate by reference paragraphs 1 through 263 as if fully set forth

herein and further allege as follows.

       265.    Certain Plaintiffs (“Decedent Plaintiffs”) have passed away after suffering injuries

and losses as a result of Defendants’ hair relaxer products and conduct described in this Complaint.

       266.    As a direct and proximate result of Decedent Plaintiffs’ reasonably anticipated use

of Defendants’ hair relaxer products as manufactured, designed, sold, supplied, marketed and/or

introduced into the stream of commerce by Defendants, Decedent Plaintiffs suffered serious injury,

harm, damages, economic and non-economic loss and will continue to suffer such harm, damages

and losses prior to Decedent Plaintiffs’ deaths.

       267.    The representative/administrators of Decedent Plaintiffs’ estates bring this claim

on behalf of Decedent Plaintiffs’ estates and Decedent Plaintiffs’ beneficiaries for damages.

       268.    The representative/administrators of Decedent Plaintiffs’ estates further plead all

survival damages allowed by statute and law in the state/territory or states/territories in which the

causes of action accrued.

       269.    Defendants’ conduct with respect to their design and sale of their products to

Decedent Plaintiffs and the public was fraudulent, malicious, oppressive, willful, reckless, and/or

grossly negligent, and indicates a wanton disregard of the rights of others, justifying an award of

punitive or exemplary damages.


                                        Loss of Consortium




                                               - 73 -
       270.    Plaintiffs incorporate by reference paragraphs 1 through 269 as if fully set forth

herein and further allege as follows.

       271.    Certain Plaintiffs were married to spouses (hereinafter referred to as “Spouse

Plaintiffs”) and/or have family members (hereinafter referred to as “Family Member Plaintiffs”)

who have suffered injuries and losses as a result of such Plaintiffs’ injuries.

       272.    As a foreseeable, direct, and proximate result of Defendants’ unlawful conduct as

described in this Complaint, Spouse Plaintiffs and/or Family Member Plaintiffs have paid and have

become liable to pay for medical aid, treatment and for medications, and will incur further

expenses of a similar nature in the future.

       273.    As a foreseeable, direct, and proximate result of Defendants’ unlawful conduct as

described in this Complaint, Spouse Plaintiffs and/or Family Member Plaintiffs have suffered and

will continue to suffer the loss of their loved one’s care, comfort, support, companionship, services,

society, love, and affection.

       274.    Spouse Plaintiffs allege their marital relationships have been impaired and

depreciated, and the marital associations between spouses have been altered.

       275.    Spouse Plaintiffs and/or Family Member Plaintiffs have suffered great emotional

pain and mental anguish.

       276.    As a foreseeable, direct, and proximate result of Defendants’ unlawful conduct,

Spouse Plaintiffs and/or Family Member Plaintiffs have sustained and will continue to sustain

severe physical injuries, severe emotional distress, economic losses, and other damages.

       277.    Due to the above, Defendants are liable to Spouse Plaintiffs and/or Family Member

Plaintiffs for compensatory, equitable, and punitive damages, to the extent permitted by applicable




                                                - 74 -
law, in amounts to be proven at trial, together with interest, costs of suit, attorneys’ fees and all

such other relief as the Court deems proper.


                                        Punitive Damages

       278.    Plaintiffs incorporate by reference paragraphs 1 through 277 as if fully set forth

herein and further allege as follows.

       279.    The acts and omissions of Defendants as alleged throughout this Complaint were

willful, wanton, and malicious. Defendants committed these acts with a conscious disregard for

the rights, health, and safety of Plaintiffs and other consumers/users of Defendants’ hair relaxer

products, for the primary purpose of increasing Defendants’ profits from the sale and distribution

of their hair relaxer products. Defendants’ outrageous and unconscionable conduct warrants an

award of exemplary and punitive damages against Defendants in an amount appropriate to punish

and make an example of Defendants.

       280.    Defendants’ willful, wanton, malicious, and/or reckless acts include the following

(as detailed throughout this Complaint):

               a.      Failing to disclose or warn of, concealing, and/or suppressing material facts

regarding the dangers and serious safety concerns of Defendants’ hair relaxer products to

Plaintiffs, other consumers, and the public;

               b.      Making false and deceptive representations that Defendants’ hair relaxer

products could be used safely for their ordinary and intended purposes, for the purpose of deceiving

and lulling Plaintiffs and other consumers into purchasing and using Defendants’ hair relaxer

products without knowledge of their risks;

               c.      Falsely representing the qualities and characteristics of Defendants’ hair

relaxer products and their safety to Plaintiffs, other consumers, and the public;



                                               - 75 -
                 d.     Knowingly subjecting Plaintiffs and all purchasers and users of Defendants’

hair relaxer products to a substantial and unreasonable risk of harm, including the risk of serious

illness and death, for the purpose of enhancing Defendants’ profits; and

                 e.     Intentionally targeting Black and Brown women, including Black and

Brown teenaged girls and children, as customers to purchase and use their unsafe hair relaxer

products and doing so without warning of their dangers, including by relying on and invoking anti-

Black stereotypes and anti-Black history against natural Black and Brown hair and features.

                 f.     To the extent that punitive damages are an available remedy but not

considered an independent cause of action in any Plaintiffs state, the allegations in this section are

pled in support of punitive damages being an appropriate remedy for that Plaintiffs’ other causes

of action.

                                      JURY TRIAL DEMAND

          281.   Pursuant to Federal Rule of Civil Procedure 38(b) Plaintiffs hereby demand a trial

by jury on all the triable issues within this pleading.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs demand judgment against Defendants on each of the above-

referenced.

          A.     Awarding compensatory damages, including, but not limited to pain, suffering,

emotional distress, loss of enjoyment of life, and other non-economic damages in an amount to be

determined at trial of this action;

          B.     Awarding economic damages in the form of medical expenses, out of pocket

expenses, lost earnings, and other economic damages in an amount to be determined at trial of this

action;




                                                - 76 -
       C.      Awarding damages and/or equitable relief to provide medical monitoring for the

early detection, diagnosis, and treatment of injuries related to the Products and prevention of

exacerbation of such injuries;

       D.      Punitive and/or exemplary damages for the wanton, willful, fraudulent, reckless

acts of the Defendants who demonstrated a complete disregard and reckless indifference for the

safety and welfare of the general public and Plaintiff in an amount sufficient to punish Defendants

and deter future similar conduct;

       E.      Statutory damages including treble damages;

       F.      Prejudgment interest;

       G.      Post judgment interest;

       H.      Awarding Plaintiffs reasonable attorneys’ fees;

       I.      Awarding Plaintiffs the costs of these proceedings; and

       J.      Such other and further relief as this Court deems just and proper.

Dated: May 15, 2023                          Respectfully submitted,

                                             /s/ Edward A. Wallace
                                             Edward A. Wallace
                                             WALLACE MILLER
                                             150 N. Wacker Dr., Suite 1100
                                             Chicago, Illinois 60606
                                             Tel.: 312-261-6193
                                             Email: eaw@wallacemiller.com

                                             Plaintiffs’ Liaison Counsel

                                             Diandra “Fu” Debrosse Zimmermann
                                             DICELLO LEVITT LLC
                                             505 20th Street North - Suite 1500
                                             Birmingham, Alabama 35203
                                             Tel.: 205-855-5700
                                             Email: fu@dicellolevitt.com

                                             Plaintiffs’ Co-Lead Counsel



                                              - 77 -
                                 Fidelma L. Fitzpatrick
                                 MOTLEY RICE LLC
                                 40 Westminster Street, Fifth Floor
                                 Providence, Rhode Island 02903
                                 Tel.: 401-457-7700
                                 Email: ffitzpatrick@motleyrice.com

                                 Plaintiffs’ Co-Lead Counsel

                                 Michael A. London
                                 DOUGLAS & LONDON, P.C.
                                 59 Maiden Lane, Sixth Floor
                                 New York, New York 10038
                                 Tel.:212-566-7500
                                 Email: mlondon@douglasandlondon.com

                                 Plaintiffs’ Co-Lead Counsel

                                 Benjamin L. Crump
                                 BEN CRUMP LAW FIRM
                                 122 South Calhoun Street
                                 Tallahassee, Florida 32301
                                 Tel.: 850-224-2020
                                 Email: ben@bencrump.com

                                 Plaintiffs’ Co-Lead Counsel

                                 and

                                 On behalf of Plaintiffs’ Executive Committee:

Brian Barr                       Tim Becker
LEVIN PAPANTONIO RAFFERTY        JOHNSON BECKER
316 South Baylen St.             444 Cedar St., Suite 1800
Pensacola, FL 32502              St. Paul, MN 55101
Tel.: (850) 435-7044             Tel.: (612) 436-1804
Email: bbarr@levinlaw.com        Email: tbecker@johnsonbecker.com

Jayne Conroy                     Kelly M. Dermody
SIMMONS HANLY CONROY             LIEFF CABRASER HEIMANN &
112 Madison Avenue, 7th Floor    BERNSTEIN
New York, NY 10016               275 Battery Street, Suite 2900
Tel.: (212) 257-8482             San Francisco, CA 94111
Email: jconroy@simmonsfirm.com   Tel.: (415) 956-1000
                                 Email: kdermody@lchb.com



                                  - 78 -
Jennifer Hoekstra                    LaRuby May
AYLSTOCK, WITKIN, KREIS &            MAY JUNG
OVERHOLTZ, PLLC                      3216 11th Place SE
17 E. Main St.                       Washington, DC 20032
Pensacola, FL 32502                  Tel.: (202) 869-3735
Tel.: (850) 202-1010                 Email: laruby@mayjung.com
Email: jhoekstra@awkolaw.com

Rene F. Rocha                        Larry Taylor
MORGAN & MORGAN                      THE COCHRAN FIRM
400 Poydras St., Suite 1515          1825 Market Center Blvd #500
New Orleans, LA 70130                Dallas, TX 75207
Tel.: (954) 318-0268                 Tel.: (214) 466-7620
Email: rrocha@forthepeople.com       Email: ltaylor@cochrantexas.com

Navan Ward
BEASLEY ALLEN
2839 Paces Ferry Rd SE, Suite 400
Atlanta, GA 30339
Tel.: (404) 751-1162
Email: navan.ward@beasleyallen.com


                                     and

                                     On behalf of Plaintiffs’ Steering Committee:

Anne Andrews                         Greg Cade
ANDREWS & THORNTON                   ENVIRONMENTAL LAW GROUP
4701 Von Karman Ave., Suite 300      2160 Highland Ave.
Newport Beach, CA 92660              Birmingham, AL 35205
Tel.: (949) 748-1000                 Tel.: (205) 328-9200
Email: aa@andrewsthornton.com        Email: GregC@elglaw.com

Thomas P. Cartmell                   C. Andrew Childers
WAGSTAFF & CARTMELL LLP              CHILDERS, SCHLEUTER & SMITH
4740 Grand Avenue, Suite 300         1932 North Druid Hills Road, Suite 100
Kansas City, MO 64112                Atlanta, GA 30319
Tel.: (816) 701-1100                 Tel.: (404) 419-9500
Email: tcartmell@wcllp.com           Email: achilders@cssfirm.com




                                      - 79 -
Erin Copeland                         Maria Fleming
FIBICH LEEBRON COPELAND               NAPOLI SHKOLNIK
BRIGGS                                1500 West 3rd Street
1150 Bissonnet                        Cleveland, OH 44113
Houston, TX 77005                     Tel.: (844) 230-7676
Tel.: (713) 751-0025                  Email: mfleming@napolilaw.com
Email: ecopeland@fibichlaw.com
                                      Kendra Y. Goldhirsch
Lee Floyd                             CHAFFIN LUHANA LLP
BREIT BINIAZAN                        600 Third Avenue, 12th Floor
2100 East Cary Street, Suite 310      New York, NY 10016
Richmond, VA 23223                    Tel.: (888) 480-1123
Tel.: (804) 351-9040                  Email: goldhirsch@chaffinluhana.com
Email: lee@bbtrial.com
                                      Buffy Martines
Kristine Kraft                        LAMINACK, PIRTLE & MARTINES
SCHLICHTER BOGARD & DENTON            5020 Montrose Blvd., 9th Floor
100 South Fourth Street, Suite 1200   Houston, TX 770606
St. Louis, MO 63102                   Tel.: (713) 292-2750
Tel.: (314) 884-7706                  Email: buffym@lpm-triallaw.com
Email: kkraft@uselaws.com
                                      David A. Neiman
Melanie Muhlstock                     ROMANUCCI & BLANDIN, LLC
PARKER WAICHMAN                       321 N Clark St. #900
6 Harbor Park Dr.                     Chicago, Illinois 60654
Port Washington, NY 11050             Tel.: (312) 253-8810
Tel.: (516) 466-6500                  Email: dneiman@rblaw.net
Email: mmuhlstock@yourlawyer.com
                                      Syreeta Poindexter
Michelle Parfitt                      BABIN LAW
ASHCRAFT & GEREL, LLP                 65 E. State St., Suite 1300
1825 K Street NW, Suite 700           Columbus, OH 43215
Washington, DC 20006                  Tel.: (614) 412-0877
Tel.: (703) 824-4772                  Email: syreeta.poindexter@babinlaws.com
Email: mparfitt@ashcraftlaw.com
                                      Steve Rotman
EricaRae Garcia                       HAUSFELD
WEITZ & LUXENBERG                     One Marina Park Dr., Suite 1410
700 Broadway                          Boston, MA 02210
New York, NY 10003                    Tel.: (617) 207-0602
Tel.: (212) 558-5825                  Email: srotman@hausfeld.com
Email: egarcia@weitzlux.com
                                      Ashlie Case Sletvold
Richard W. Schulte                    PEIFFER WOLF CARR KANE
WRIGHT & SCHULTE LLC                  CONWAY & WISE, LLP
865 S. Dixie Dr.                      6370 SOM Center Road, Suite 108
Vandalia, OH 45377                    Cleveland, OH 44139


                                      - 80 -
Tel.: (937) 435-7500                   Tel.: (216) 260-0808
Email: rschulte@yourlegalhelp.com      Email: asletvold@peifferwolf.com

L. Chris Stewart                       Aimee Wagstaff
STEWART MILLE SIMMONS                  WAGSTAFF LAW FIRM
55 Ivan Allen Jr. Blvd NW, Suite 700   940 N. Lincoln St.
Atlanta, GA 30308                      Denver, CO 80203
Tel.: (404) 589-3476                   Tel.: (720) 208-9414
Email: cstewart@smstrial.com           Email: awagstaff@wagstafflawfirm.com

Mikal Watts
WATTS GUERRA
4 Dominion Dr., Bld 3, Suite 100
San Antonio, TX 78257
Tel.: (210) 447-0500
Email: mcwatts@wattsguerra.com




                                        - 81 -
